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                                                                                              VeroBlue Farms USA Inc.
                                                                                       VeroBlue Farms USA, Inc (Consolidated)
                                                                                                         Balance Sheet
Financial Row                                                           21-May             30-Apr            31-Mar           28-Feb           31-Jan          31-Dec           30-Nov          31-Oct          30-Sep          20-Sep
ASSETS
  Current Assets
    Bank
       10000 - Operating Cash
         10001 - First State Bank Reserve: 8136                              $0.00             $0.00             $0.00            $0.00            $0.00            $0.00            $0.00           $0.00        $204.21         $194.21
         10002 - First State Bank Oper : 1424 (IF)                           $0.00             $0.00             $0.00            $0.00            $0.00            $0.00            $0.00           $0.00     $362,849.72      $33,205.51
         10003 - First State Bank DIP : 3423 (Operating Account)       $156,461.95        $32,606.21        $17,050.03      $142,768.60        $5,643.25      $116,980.22       $48,663.03     $114,775.11           $0.00           $0.00
         10004 - First State Bank DIP : 5612 (Asset Sales Account)     $204,088.71       $204,088.71       $204,174.31      $204,259.91      $204,345.51      $171,289.51            $0.00           $0.00           $0.00           $0.00
       Total - 10000 - Operating Cash                                  $360,550.66       $236,694.92       $221,224.34      $347,028.51      $209,988.76      $288,269.73       $48,663.03     $114,775.11     $363,053.93      $33,399.72
       10200 - UMB CD (IF)                                                   $0.00             $0.00             $0.00            $0.00      $100,474.34      $100,474.34      $100,474.34     $100,474.34     $100,474.34     $100,150.00
       10999 - Cash Clearing - IF                                            $0.00             $0.00             $0.00            $0.00            $0.00         $208.15         $8,521.24      $10,091.20      $16,496.60           $0.00
    Total Bank                                                         $360,550.66       $236,694.92       $221,224.34      $347,028.51      $310,463.10      $388,952.22      $157,658.61     $225,340.65     $480,024.87     $133,549.72
    Accounts Receivable
       12000 - Accounts Receivable - Trade                              $61,439.53        $63,939.53        $66,439.53       $68,939.53      $102,266.53      $128,073.98      $203,666.23     $243,696.98     $248,743.18     $193,637.58
    Total Accounts Receivable                                           $61,439.53        $63,939.53        $66,439.53       $68,939.53      $102,266.53      $128,073.98      $203,666.23     $243,696.98     $248,743.18     $193,637.58
    Other Current Asset
       10100 - Trust Account - Moglia                                   $40,000.00        $40,000.00        $40,000.00       $40,000.00       $40,000.00       $40,000.00       $40,000.00      $40,000.00      $80,000.00      $80,000.00
       10105 - Trust Account - Ag & Business Legal Strategies           $40,000.00        $40,000.00        $40,000.00       $40,000.00       $40,000.00       $40,000.00       $40,000.00      $40,000.00     $189,000.00     $189,000.00
       10110 - Trust Account - Elderkin & Pirnie                        $40,000.00        $40,000.00        $40,000.00       $40,000.00       $40,000.00       $40,000.00       $40,000.00      $40,000.00      $80,000.00      $80,000.00
       10115 - Trust Account - Thompson Coburn LLP                      $50,000.00        $50,000.00        $50,000.00       $50,000.00      $100,482.82      $100,482.82      $100,482.82     $100,482.82     $150,000.00     $150,000.00
       10120 - Trust Account - Davis Law Firm                           $40,000.00        $40,000.00        $40,000.00       $40,000.00       $40,000.00       $40,000.00       $40,000.00      $40,000.00      $19,976.50      $19,976.50
       10125 - Trust Account - Thompson & Knight                         $5,000.00         $5,000.00             $0.00            $0.00            $0.00            $0.00            $0.00           $0.00           $0.00           $0.00
       10201 - Temporary Suspense                                            $0.00             $0.00             $0.00            $0.00            $0.00         $700.66             $0.00           $0.00           $0.00           $0.00
       12200 - Accounts Receivable - Other
         12520 - Receivable from Faivre                                $173,720.31       $173,720.31       $173,720.31      $173,720.31      $173,720.31      $173,720.31      $173,720.31     $173,720.31     $173,720.31     $173,720.31
         12530 - Receivalble from Pacific Consolidated Industries            $0.00             $0.00             $0.00            $0.00            $0.00            $0.00       $52,166.41      $57,166.41      $62,166.41      $67,166.41
       Total - 12200 - Accounts Receivable - Other                     $173,720.31       $173,720.31       $173,720.31      $173,720.31      $173,720.31      $173,720.31      $225,886.72     $230,886.72     $235,886.72     $240,886.72
       13000 - I/C A/R
         13010 - I/C A/R - VBF USA                                    $1,645,050.05     $1,642,550.05     $1,640,050.05    $1,637,550.05    $1,598,820.31    $1,490,195.66    $1,250,099.62    $946,829.02     $523,954.58     $523,954.58
         13040 - I/C A/R - VBF Transport                                 ($7,414.20)       ($7,414.20)       ($7,414.20)      ($7,414.20)      ($7,414.20)      ($7,414.20)      ($7,414.20)    ($7,414.20)     ($7,414.20)     ($7,414.20)
       Total - 13000 - I/C A/R                                        $1,637,635.85     $1,635,135.85     $1,632,635.85    $1,630,135.85    $1,591,406.11    $1,482,781.46    $1,242,685.42    $939,414.82     $516,540.38     $516,540.38
       14000 - Inventory
         14100 - Raw Materials
            14150 - Fish Feed                                                $0.00             $0.00             $0.00            $0.00            $0.00      $111,869.72      $140,497.25     $165,288.01     $205,054.16     $212,444.93
         Total - 14100 - Raw Materials                                       $0.00             $0.00             $0.00            $0.00            $0.00      $111,869.72      $140,497.25     $165,288.01     $205,054.16     $212,444.93
         14170 - Consumables Inventory                                  $28,675.74        $28,675.74        $28,675.74       $28,675.74       $28,675.74       $28,675.74       $28,675.74      $28,675.74      $28,675.74      $28,675.74
         14180 - Preventive Maintenance Parts                          $159,822.43       $159,822.43       $159,822.43      $159,822.43      $159,822.43      $159,822.43      $159,822.43     $159,822.43     $159,822.43     $159,822.43
         14300 - Finished Goods
            14400 - Fish                                                     $0.00             $0.00             $0.00            $0.00            $0.00            $0.00            $0.00      $63,262.92      $57,933.88      $58,139.26
         Total - 14300 - Finished Goods                                      $0.00             $0.00             $0.00            $0.00            $0.00            $0.00            $0.00      $63,262.92      $57,933.88      $58,139.26
       Total - 14000 - Inventory                                       $188,498.17       $188,498.17       $188,498.17      $188,498.17      $188,498.17      $300,367.89      $328,995.42     $417,049.10     $451,486.21     $459,082.36
       14800 - Biological Asset
         14805 - Fingerlings                                                  $0.00             $0.00             $0.00            $0.00            $0.00           $0.00            $0.00           $0.00       $28,743.21      $28,743.21
         14810 - Grow Tank Fish                                               $0.00             $0.00             $0.00            $0.00            $0.00      $58,198.86      $154,487.62     $291,011.31     $645,354.34     $623,023.03
         14890 - Fair Value - Cost to Sell Adj                                $0.00             $0.00             $0.00            $0.00            $0.00      $94,229.88      $247,737.01     $458,862.84    $1,182,739.57   $1,182,739.57
       Total - 14800 - Biological Asset                                       $0.00             $0.00             $0.00            $0.00            $0.00     $152,428.74      $402,224.63     $749,874.15    $1,856,837.12   $1,834,505.81
       15000 - Prepaid Exp, Deposits & Other
         15000 - Prepaid Exp, Deposits & Other                                $0.00             $0.00             $0.00            $0.00            $0.00            $0.00        $2,500.00      $2,500.00           $0.00           $0.00
         15100 - Prepaid Expenses
            15010 - Prepaid Utility - AgVantage FS                       $5,000.00         $5,000.00         $5,000.00        $5,000.00        $5,000.00        $5,000.00        $5,000.00       $5,000.00           $0.00           $0.00
            15015 - Prepaid Utility - Prairie Energy                     $7,967.89         $8,851.00         $8,851.00        $8,851.00        $8,851.00        $8,851.00        $8,851.00       $8,851.00           $0.00           $0.00
            15020 - Prepaid Utility - Black Hills Energy                $16,458.00        $16,458.00        $16,458.00       $16,458.00       $16,458.00       $16,458.00       $16,458.00      $16,458.00           $0.00           $0.00
            15025 - Prepaid Utility - Midland Power                      $5,529.00         $5,529.00         $5,529.00        $5,529.00        $5,529.00        $5,529.00        $5,529.00       $5,529.00           $0.00           $0.00
            15030 - Prepaid Utility - Electric - City of WC             $48,553.00        $48,553.00        $48,553.00       $48,553.00       $48,553.00       $48,553.00       $48,553.00           $0.00           $0.00           $0.00
            15033 - Prepaid Utility - Home Service - City of WC           $640.00           $640.00           $640.00          $640.00          $640.00          $640.00          $640.00            $0.00           $0.00           $0.00
            15035 - Prepaid Utility - Sewer - City of WC                $24,599.00        $24,599.00        $24,599.00       $24,599.00       $24,599.00       $24,599.00       $24,599.00           $0.00           $0.00           $0.00
            15040 - Prepaid Utility - Mediacom UF                         $386.00           $386.00           $386.00          $386.00          $386.00          $386.00          $386.00            $0.00           $0.00           $0.00
            15040 - Prepaid Utility - Mediacom Apt                        $135.94           $135.94           $135.94          $135.94          $135.94          $135.94             $0.00           $0.00           $0.00           $0.00
            15110 - Prepaid Travel - American Airlines                   $3,411.49         $3,411.49         $3,411.49        $3,411.49        $3,411.49        $3,411.49        $3,129.43      $16,361.12      $37,264.38      $40,681.06
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                                                                                                           VeroBlue Farms USA Inc.
                                                                                                    VeroBlue Farms USA, Inc (Consolidated)
                                                                                                                      Balance Sheet
Financial Row                                                                         21-May            30-Apr            31-Mar            28-Feb            31-Jan            31-Dec            30-Nov            31-Oct            30-Sep            20-Sep
              15115 - Prepaid Testing - AgSource Labs                                  $1,200.00         $1,200.00         $1,200.00         $1,200.00         $1,200.00         $1,200.00         $1,200.00             $0.00             $0.00             $0.00
              15140 - Prepaid - Insurance
                15145 - General Liab, Commercial Prop and Umbrella                  $172,815.19       $176,752.45       $165,994.22       $118,865.76        $94,654.53             $0.00        $34,795.55        $33,785.55        $33,785.55        $33,785.55
                15146 - Auto Insurance                                                $4,294.92         $4,294.92         $4,340.92             $0.00             $0.00             $0.00         $5,811.06         $5,811.06         $5,811.06             $0.00
              Total - 15140 - Prepaid - Insurance                                   $177,110.11       $181,047.37       $170,335.14       $118,865.76        $94,654.53             $0.00        $40,606.61        $39,596.61        $39,596.61        $33,785.55
              15153 - Pre-paid - Ames Motor Co and Forklift of DM Vehicle Lease           $0.00             $0.00             $0.00             $0.00             $0.00             $0.00       $113,301.71       $113,301.71       $113,301.71       $113,301.71
          Total - 15100 - Prepaid Expenses                                          $290,990.43       $295,810.80       $285,098.57       $233,629.19       $209,417.96       $114,763.43       $268,253.75       $205,097.44       $190,162.70       $187,768.32
          15160 - Prepaid - Deposits
              15210 - Other                                                           $65,658.00        $65,658.00        $65,658.00        $65,658.00        $65,658.00        $65,658.00        $63,658.00        $63,658.00        $63,658.00        $63,658.00
          Total - 15160 - Prepaid - Deposits                                          $65,658.00        $65,658.00        $65,658.00        $65,658.00        $65,658.00        $65,658.00        $63,658.00        $63,658.00        $63,658.00        $63,658.00
       Total - 15000 - Prepaid Exp, Deposits & Other                                $356,648.43       $361,468.80       $350,756.57        $299,287.19      $275,075.96       $180,421.43        $334,411.75      $271,255.44       $253,820.70       $251,426.32
     Total Other Current Asset                                                     $2,571,502.76     $2,573,823.13     $2,555,610.90     $2,501,641.52     $2,489,183.37     $2,550,903.31     $2,794,686.76     $2,868,963.05     $3,833,547.63     $3,821,418.09
  Total Current Assets                                                             $2,993,492.95     $2,874,457.58     $2,843,274.77     $2,917,609.56     $2,901,913.00     $3,067,929.51     $3,156,011.60     $3,338,000.68     $4,562,315.68     $4,148,605.39
  Fixed Assets
     16000 - Fixed Assets
       16100 - Computer & Equip                                                      $372,890.30       $372,890.30       $372,890.30       $372,890.30       $372,890.30       $372,890.30       $372,890.30       $372,890.30       $372,890.30       $372,890.30
       16200 - Office Furniture                                                      $118,391.47       $118,391.47       $118,391.47       $118,391.47       $118,391.47       $118,391.47       $118,391.47       $118,391.47       $118,391.47       $118,391.47
       16300 - Fish Tanks                                                         $15,869,991.89    $15,869,991.89    $15,869,991.89    $15,869,991.89    $15,869,991.89    $15,869,991.89    $15,869,991.89    $15,869,991.89    $15,869,991.89    $15,869,991.89
       16400 - Fish Farming Equipment                                             $15,259,013.63    $15,259,013.63    $15,259,013.63    $15,259,013.63    $15,259,013.63    $15,259,013.63    $15,259,013.63    $15,259,013.63    $15,259,013.63    $15,259,013.63
       16500 - Vehicles and Trailers                                                 $714,300.06       $714,300.06       $714,300.06       $714,300.06       $714,300.06       $714,300.06       $714,300.06       $714,300.06       $714,300.06       $714,300.06
       16600 - Buildings                                                           $9,577,643.76     $9,577,643.76     $9,577,643.76     $9,577,643.76     $9,577,643.76     $9,577,643.76     $9,577,643.76     $9,577,643.76     $9,577,643.76     $9,577,643.76
       16700 - Leasehold Improvements                                                $321,691.60       $321,691.60       $321,691.60       $321,691.60       $321,691.60       $321,691.60       $321,691.60       $321,691.60       $321,691.60       $321,691.60
       16800 - Land                                                                  $435,000.00       $435,000.00       $435,000.00       $435,000.00       $435,000.00       $435,000.00       $435,000.00       $435,000.00       $435,000.00       $435,000.00
       16900 - Wells                                                                 $112,016.88       $112,016.88       $112,016.88       $112,016.88       $112,016.88       $112,016.88       $112,016.88       $112,016.88       $112,016.88       $112,016.88
       16990 - Accumulated Depreciation                                           ($8,073,023.53)   ($7,833,572.15)   ($7,480,096.30)   ($7,126,620.45)   ($6,773,144.60)   ($6,419,668.75)   ($6,066,192.90)   ($5,712,717.05)   ($5,359,241.20)   ($5,241,416.20)
     Total - 16000 - Fixed Assets                                                 $34,707,916.06    $34,947,367.44    $35,300,843.29    $35,654,319.14    $36,007,794.99    $36,361,270.84    $36,714,746.69    $37,068,222.54    $37,421,698.39    $37,539,523.39
     17000 - Construction In Progress
       17030 - VBF-03 All Farms Oper Equip                                               $600.00           $600.00           $600.00           $600.00           $600.00           $600.00           $600.00           $600.00           $600.00           $600.00
       17090 - VBF-09 Urban Farm Barn 6&7 Building Construction                    $1,399,071.76     $1,399,071.76     $1,399,071.76     $1,399,071.76     $1,399,071.76     $1,399,071.76     $1,399,071.76     $1,399,071.76     $1,399,071.76     $1,399,071.76
       17100 - VBF-10 Urban Farm Barn 6&7 Equip                                    $2,104,899.70     $2,104,899.70     $2,104,899.70     $2,104,899.70     $2,104,899.70     $2,104,899.70     $2,104,899.70     $2,104,899.70     $2,104,899.70     $2,104,899.70
       17120 - VBF-12 Ten Barn Farm #1                                                $99,490.19        $99,490.19        $99,490.19        $99,490.19        $99,490.19        $99,490.19        $99,490.19        $99,490.19        $99,490.19        $99,490.19
       17130 - VBF-13 Ten Barn Farm #1 Aquaculture Equip                              $21,316.55        $21,316.55        $21,316.55        $21,316.55        $21,316.55        $21,316.55        $21,316.55        $21,316.55        $21,316.55        $21,316.55
       17140 - VBF-14 Pre-Nursery Blairsburg Bldg B                                   $99,866.85        $99,866.85        $99,866.85        $99,866.85        $99,866.85        $99,866.85        $99,866.85        $99,866.85        $99,866.85        $99,866.85
       17170 - VBF-17 Retrofit Project - Pranger Enterprises                        $510,288.56       $510,288.56       $510,288.56        $510,288.56      $510,288.56       $510,288.56        $510,288.56      $510,288.56       $510,288.56        $510,288.56
     Total - 17000 - Construction In Progress                                      $4,235,533.61     $4,235,533.61     $4,235,533.61     $4,235,533.61     $4,235,533.61     $4,235,533.61     $4,235,533.61     $4,235,533.61     $4,235,533.61     $4,235,533.61
  Total Fixed Assets                                                              $38,943,449.67    $39,182,901.05    $39,536,376.90    $39,889,852.75    $40,243,328.60    $40,596,804.45    $40,950,280.30    $41,303,756.15    $41,657,232.00    $41,775,057.00
  Other Assets
     19000 - Other Assets
       19040 - Intangible Assets                                                     $325,000.00       $325,000.00       $325,000.00       $325,000.00       $325,000.00       $325,000.00       $325,000.00       $325,000.00       $325,000.00       $325,000.00
       19050 - Intellectual Property                                               $2,750,000.00     $2,750,000.00     $2,750,000.00     $2,750,000.00     $2,750,000.00     $2,750,000.00     $2,750,000.00     $2,750,000.00     $2,750,000.00     $2,750,000.00
       19060 - Goodwill                                                              $805,658.74       $805,658.74       $805,658.74       $805,658.74       $805,658.74       $805,658.74       $805,658.74       $805,658.74       $805,658.74       $805,658.74
       19070 - Trademarks                                                             $12,296.30        $12,296.30        $12,296.30        $12,296.30        $12,296.30        $12,296.30        $12,296.30        $12,296.30        $12,296.30        $12,296.30
       19200 - Accum Amort Other Assets                                             ($718,318.12)     ($704,285.86)     ($683,571.57)     ($662,857.28)     ($642,142.99)     ($621,428.70)     ($600,714.41)     ($580,000.12)     ($559,285.83)     ($552,380.83)
     Total - 19000 - Other Assets                                                  $3,174,636.92     $3,188,669.18     $3,209,383.47     $3,230,097.76     $3,250,812.05     $3,271,526.34     $3,292,240.63     $3,312,954.92     $3,333,669.21     $3,340,574.21
  Total Other Assets                                                               $3,174,636.92     $3,188,669.18     $3,209,383.47     $3,230,097.76     $3,250,812.05     $3,271,526.34     $3,292,240.63     $3,312,954.92     $3,333,669.21     $3,340,574.21
Total ASSETS                                                                      $45,111,579.54    $45,246,027.81    $45,589,035.14    $46,037,560.07    $46,396,053.65    $46,936,260.30    $47,398,532.53    $47,954,711.75    $49,553,216.89    $49,264,236.60
LIABILITIES & EQUITY
  Current Liabilities
     Accounts Payable
       20000 - Accounts Payable                                                    $1,800,695.28     $1,800,695.28     $1,800,695.28     $1,800,695.28     $1,800,695.28     $1,800,695.28     $1,800,695.28     $1,800,695.28     $1,800,695.28     $1,800,695.28
       20100 - Accounts Payable - Current                                           $924,393.17       $924,393.17       $924,393.17        $924,393.17     $1,008,542.15     $1,008,542.15     $1,008,542.15     $1,020,042.94     $1,008,542.15      $994,831.52
       20110 - Accounts Payable - Post BK Filing                                    $231,071.68       $256,580.13       $191,686.75        $241,168.33      $281,368.61       $274,294.32        $199,798.93      $329,653.67         $46,858.56             $0.00
     Total Accounts Payable                                                        $2,956,160.13     $2,981,668.58     $2,916,775.20     $2,966,256.78     $3,090,606.04     $3,083,531.75     $3,009,036.36     $3,150,391.89     $2,856,095.99     $2,795,526.80
     Other Current Liability
       20200 - I/C A/P
          20230 - I/C A/P - VBF IF                                                 $1,637,635.85     $1,635,135.85     $1,632,635.85     $1,630,135.85     $1,591,406.11     $1,482,781.46     $1,242,685.42      $939,414.82       $516,540.38       $516,540.38
       Total - 20200 - I/C A/P                                                     $1,637,635.85     $1,635,135.85     $1,632,635.85     $1,630,135.85     $1,591,406.11     $1,482,781.46     $1,242,685.42      $939,414.82       $516,540.38       $516,540.38
       22000 - Accrued Expense
          22100 - Payroll                                                              $5,250.00         $5,250.00         $5,250.00         $5,250.00         $5,250.00         $5,250.00         $5,250.00         $5,250.00         $5,250.00         $5,250.00
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                                                                                        VeroBlue Farms USA Inc.
                                                                                 VeroBlue Farms USA, Inc (Consolidated)
                                                                                                   Balance Sheet
Financial Row                                                      21-May            30-Apr            31-Mar            28-Feb            31-Jan            31-Dec            30-Nov            31-Oct            30-Sep            20-Sep
           22200 - Interest                                      $871,732.12       $805,732.12       $715,732.12        $629,732.12      $555,732.12       $475,680.15        $399,430.28      $329,049.34       $255,082.39       $233,059.58
           22300 - Other                                         $539,502.92       $539,502.92       $539,502.92        $539,502.92      $539,502.92       $539,502.92        $539,502.92      $539,502.92       $539,502.92       $539,502.92
        Total - 22000 - Accrued Expense                         $1,416,485.04     $1,350,485.04     $1,260,485.04     $1,174,485.04     $1,100,485.04     $1,020,433.07       $944,183.20      $873,802.26       $799,835.31       $777,812.50
        22650 - Deferred Lease Payment                           $120,947.15       $120,947.15       $120,947.15        $120,947.15      $120,947.15       $120,947.15        $120,947.15      $120,947.15       $120,947.15       $120,947.15
     Total Other Current Liability                              $3,175,068.04     $3,106,568.04     $3,014,068.04     $2,925,568.04     $2,812,838.30     $2,624,161.68     $2,307,815.77     $1,934,164.23     $1,437,322.84     $1,415,300.03
  Total Current Liabilities                                     $6,131,228.17     $6,088,236.62     $5,930,843.24     $5,891,824.82     $5,903,444.34     $5,707,693.43     $5,316,852.13     $5,084,556.12     $4,293,418.83     $4,210,826.83
  Long Term Liabilities
     24000 - Long Term Note Payable
        24252 - Broadmoor Financial                            $51,809,500.00    $51,547,000.00    $51,172,000.00    $50,784,000.00    $50,433,000.00    $50,045,000.00    $49,660,796.66    $49,290,796.66    $48,911,796.66    $48,777,796.66
        24253 - Alder Aqua Ltd - Incremental borrowing          $7,910,475.00     $7,510,475.00     $7,110,475.00     $6,610,475.00     $6,210,475.00     $5,985,475.00     $5,735,475.00     $5,385,475.00     $5,285,475.00     $5,025,475.00
        24900 - Puttable Shares of Common Stock - Directors      $200,000.00       $200,000.00       $200,000.00        $200,000.00      $200,000.00       $200,000.00        $200,000.00      $200,000.00       $200,000.00        $200,000.00
     Total - 24000 - Long Term Note Payable                    $59,919,975.00    $59,257,475.00    $58,482,475.00    $57,594,475.00    $56,843,475.00    $56,230,475.00    $55,596,271.66    $54,876,271.66    $54,397,271.66    $54,003,271.66
  Total Long Term Liabilities                                  $59,919,975.00    $59,257,475.00    $58,482,475.00    $57,594,475.00    $56,843,475.00    $56,230,475.00    $55,596,271.66    $54,876,271.66    $54,397,271.66    $54,003,271.66
  Equity
     30000 - Stockholders' Equity
        31000 - Common Stock
           31010 - VBF Inc - Invest in VBF USA                    $475,000.00       $475,000.00       $475,000.00       $475,000.00       $475,000.00       $475,000.00       $475,000.00       $475,000.00       $475,000.00       $475,000.00
           31011 - VBF Inc - Founders Stock                            $16.40            $16.40            $16.40            $16.40            $16.40            $16.40            $16.40            $16.40            $16.40            $16.40
           31012 - VBF Inc - Stock Issued For Acquisitions              $6.10             $6.10             $6.10             $6.10             $6.10             $6.10             $6.10             $6.10             $6.10             $6.10
           31013 - VBF Inc - Friends and Family US$0.50         $2,000,000.00     $2,000,000.00     $2,000,000.00     $2,000,000.00     $2,000,000.00     $2,000,000.00     $2,000,000.00     $2,000,000.00     $2,000,000.00     $2,000,000.00
           31014 - VBF Inc - Common Stock US$0.75                 $100,000.50       $100,000.50       $100,000.50       $100,000.50       $100,000.50       $100,000.50       $100,000.50       $100,000.50       $100,000.50       $100,000.50
           31015 - VBF Inc - Common Stock US$0.90               $3,394,330.20     $3,394,330.20     $3,394,330.20     $3,394,330.20     $3,394,330.20     $3,394,330.20     $3,394,330.20     $3,394,330.20     $3,394,330.20     $3,394,330.20
           31017 - VBF Inc - Common Stock US$1.00                 $110,000.00       $110,000.00       $110,000.00       $110,000.00       $110,000.00       $110,000.00       $110,000.00       $110,000.00       $110,000.00       $110,000.00
           31018 - VBF Inc - Common Stock - Stock Compensati      $630,000.20       $630,000.20       $630,000.20       $630,000.20       $630,000.20       $630,000.20       $630,000.20       $630,000.20       $630,000.20       $630,000.20
           31019 - VBF Inc - Capital Stock Issuance Related      ($110,788.48)     ($110,788.48)     ($110,788.48)     ($110,788.48)     ($110,788.48)     ($110,788.48)     ($110,788.48)     ($110,788.48)     ($110,788.48)     ($110,788.48)
           31020 - VBF USA Common Stock $1.00                   $4,275,525.36     $4,275,525.36     $4,275,525.36     $4,275,525.36     $4,275,525.36     $4,275,525.36     $4,275,525.36     $4,275,525.36     $4,275,525.36     $4,275,525.36
           32000 - C/S - Additional Paid in Capital              ($657,540.54)     ($657,540.54)     ($657,540.54)     ($657,540.54)     ($657,540.54)     ($657,540.54)     ($657,540.54)     ($657,540.54)     ($657,540.54)     ($657,540.54)
        Total - 31000 - Common Stock                           $10,216,549.74    $10,216,549.74    $10,216,549.74    $10,216,549.74    $10,216,549.74    $10,216,549.74    $10,216,549.74    $10,216,549.74    $10,216,549.74    $10,216,549.74
        33000 - Preferred Stock
           33020 - VBF USA - Preferred Stock $1.00                 $505,857.14      $505,857.14      $505,857.14      $505,857.14      $505,857.14      $505,857.14      $505,857.14      $505,857.14      $505,857.14      $505,857.14
           33021 - VBF USA - Pref Stock Issuance Cost           ($1,008,178.60) ($1,008,178.60) ($1,008,178.60) ($1,008,178.60) ($1,008,178.60) ($1,008,178.60) ($1,008,178.60) ($1,008,178.60) ($1,008,178.60) ($1,008,178.60)
           33900 - P/S - Additional Paid in Capital             $41,568,512.00 $41,568,512.00 $41,568,512.00 $41,568,512.00 $41,568,512.00 $41,568,512.00 $41,568,512.00 $41,568,512.00 $41,568,512.00 $41,568,512.00
        Total - 33000 - Preferred Stock                         $41,066,190.54 $41,066,190.54 $41,066,190.54 $41,066,190.54 $41,066,190.54 $41,066,190.54 $41,066,190.54 $41,066,190.54 $41,066,190.54 $41,066,190.54
     Total - 30000 - Stockholders' Equity                       $51,282,740.28 $51,282,740.28 $51,282,740.28 $51,282,740.28 $51,282,740.28 $51,282,740.28 $51,282,740.28 $51,282,740.28 $51,282,740.28 $51,282,740.28
     Retained Earnings                                         ($66,284,648.41) ($66,284,648.41) ($66,284,648.41) ($66,284,648.41) ($66,284,648.41) ($46,922,517.40) ($46,922,517.40) ($46,922,517.40) ($46,922,517.40) ($46,922,517.40)
     Net Income                                                 ($5,937,715.50) ($5,097,775.68) ($3,822,374.97) ($2,446,831.62) ($1,348,957.56) ($19,362,131.01) ($17,874,814.14) ($16,366,338.91) ($13,497,696.48) ($13,310,084.77)
  Total Equity                                                 ($20,939,623.63) ($20,099,683.81) ($18,824,283.10) ($17,448,739.75) ($16,350,865.69) ($15,001,908.13) ($13,514,591.26) ($12,006,116.03) ($9,137,473.60) ($8,949,861.89)
Total LIABILITIES & EQUITY                                      $45,111,579.54 $45,246,027.81 $45,589,035.14 $46,037,560.07 $46,396,053.65 $46,936,260.30 $47,398,532.53 $47,954,711.75 $49,553,216.89 $49,264,236.60


                                                                        $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00             $0.00
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                                                                                          VeroBlue Farms USA Inc.
                                                                                   VeroBlue Farms USA, Inc (Consolidated)
                                                                                                 Income Statement
Financial Row                                                      5/1 to 5/21       Apr 2019       Mar 2019       Feb 2019       Jan 2019        Dec 2018       Nov 2018        Oct 2018     9/21 to 9/30            Total
Ordinary Income/Expense
   Income
      40000 - Sales
          40000 - Sales                                               $0.00            $0.00          $0.00          $0.00          $0.00        ($567.59)    $40,410.00        ($319.60)      ($315.00)       $39,207.81
          41000 - Fish
             41100 - Live                                             $0.00            $0.00          $0.00          $0.00     $82,444.20    $118,788.70     $213,031.00    $239,858.80      $90,378.75       $744,501.45
             41200 - Dead On Ice                                      $0.00            $0.00          $0.00     ($2,164.00)         $0.00     $40,207.30      $30,163.90     $35,194.60      $46,000.10       $149,401.90
             41300 - Fillet                                           $0.00            $0.00          $0.00          $0.00          $0.00          $0.00           $0.00          $0.00       $4,000.00         $4,000.00
          Total - 41000 - Fish                                        $0.00            $0.00          $0.00     ($2,164.00)    $82,444.20    $158,996.00     $243,194.90    $275,053.40     $140,378.85       $897,903.35
          46000 - Other
             46600 - Water Treatment Chemicals                        $0.00            $0.00          $0.00          $0.00          $0.00          $0.00           $0.00          $0.00           $0.00             $0.00
             47200 - Consulting                                       $0.00            $0.00          $0.00          $0.00          $0.00          $0.00           $0.00    ($12,250.00)          $0.00       ($12,250.00)
             47600 - Other                                            $0.00            $0.00          $0.00          $0.00          $0.00          $0.00           $0.00          $0.00           $0.00             $0.00
          Total - 46000 - Other                                       $0.00            $0.00          $0.00          $0.00          $0.00          $0.00           $0.00    ($12,250.00)          $0.00       ($12,250.00)
      Total - 40000 - Sales                                           $0.00            $0.00          $0.00     ($2,164.00)    $82,444.20    $158,428.41     $283,604.90    $262,483.80     $140,063.85       $924,861.16
   Total - Income                                                     $0.00            $0.00          $0.00     ($2,164.00)    $82,444.20    $158,428.41     $283,604.90    $262,483.80     $140,063.85       $924,861.16
   Cost Of Sales
      50000 - Cost of Sales
          51000 - Fish - Variable (Feed & Fingerling)
             51100 - Live                                             $0.00            $0.00          $0.00          $0.00     $30,481.10     $46,358.89      $54,248.15     $83,106.11       $4,758.33       $218,952.58
             51200 - Dead On Ice                                      $0.00            $0.00          $0.00       ($758.88)         $0.00     $11,985.00      $11,625.83     $17,972.61       $2,421.85        $43,246.41
             51300 - Fillet                                           $0.00            $0.00          $0.00          $0.00          $0.00          $0.00           $0.00          $0.00         $210.59           $210.59
             51400 - Physical Inventory Adj                           $0.00            $0.00          $0.00        $758.88    $139,301.16     $66,572.40     $181,199.39    $353,035.40     ($22,331.31)      $718,535.92
          Total - 51000 - Fish - Variable (Feed & Fingerling)         $0.00            $0.00          $0.00          $0.00    $169,782.26    $124,916.29     $247,073.37    $454,114.12     ($14,940.54)      $980,945.50
          52000 - Fish - Fix
             52100 - Labor - PEO                                      $0.00            $0.00         $0.00          $0.00           $0.00          $0.00           $0.00          $0.00           $0.00             $0.00
             53000 - Filleting Cost                                   $0.00            $0.00         $0.00          $0.00           $0.00        $293.42       $2,270.50      $2,320.50       $3,145.00         $8,029.42
             54000 - Packaging                                        $0.00            $0.00         $0.00          $0.00           $0.00          $0.00           $0.00          $0.00       $1,574.38         $1,574.38
             55000 - Delivery                                         $0.00            $0.00       $771.45        $716.80       $9,859.51     $30,992.02      $42,898.80     $58,775.41      $18,360.72       $162,374.71
          Total - 52000 - Fish - Fix                                  $0.00            $0.00       $771.45        $716.80       $9,859.51     $31,285.44      $45,169.30     $61,095.91      $23,080.10       $171,978.51
          56000 - Other
             56600 - Water Treatment Chemicals                        $0.00            $0.00          $0.00          $0.00          $0.00          $0.00           $0.00       $5,200.87          $0.00          $5,200.87
             57000 - Services                                         $0.00            $0.00          $0.00          $0.00          $0.00          $0.00         $130.05           $0.00         $50.00            $180.05
             57600 - Other                                            $0.00            $0.00          $0.00          $0.00        $593.41     ($1,032.88)      $1,032.88         $503.38          $0.00          $1,096.79
          Total - 56000 - Other                                       $0.00            $0.00          $0.00          $0.00        $593.41     ($1,032.88)      $1,162.93       $5,704.25         $50.00          $6,477.71
      Total - 50000 - Cost of Sales                                   $0.00            $0.00        $771.45        $716.80    $180,235.18    $155,168.85     $293,405.60     $520,914.28      $8,189.56      $1,159,401.72
   Total - Cost Of Sales                                              $0.00            $0.00        $771.45        $716.80    $180,235.18    $155,168.85     $293,405.60     $520,914.28      $8,189.56      $1,159,401.72
   Gross Profit                                                       $0.00            $0.00       ($771.45)    ($2,880.80)   ($97,790.98)     $3,259.56      ($9,800.70)   ($258,430.48)   $131,874.29       ($234,540.56)
   Expense
      60000 - Personnel Related Expenses
          60100 - PEO Exp                                        $41,681.63       $39,911.71     $54,108.58     $67,044.29     $92,837.87    $151,706.86     $121,819.13    $337,049.26           $0.00       $906,159.33
          60101 - PEO - Nextep fees                                   $0.00            $0.00          $0.00          $0.00          $0.00          $0.00           $0.00          $0.00           $0.00             $0.00
          60115 - PEO -Rcls to Cost Of Production                     $0.00            $0.00          $0.00          $0.00          $0.00          $0.00           $0.00          $0.00           $0.00             $0.00
          60800 - Contract Labor                                  $1,009.00        $2,578.50          $0.00          $0.00      $1,062.00          $0.00           $0.00          $0.00           $0.00         $4,649.50
      Total - 60000 - Personnel Related Expenses                 $42,690.63       $42,490.21     $54,108.58     $67,044.29     $93,899.87    $151,706.86     $121,819.13    $337,049.26           $0.00       $910,808.83
      62000 - Professional Fees
          62100 - Legal
             62102 - General Corporate                          $173,313.46      $295,906.86    $370,776.70    $136,937.87     $76,592.37    $122,521.84      $44,438.40    $377,791.39           $0.00      $1,598,278.89
          Total - 62100 - Legal                                 $173,313.46      $295,906.86    $370,776.70    $136,937.87     $76,592.37    $122,521.84      $44,438.40    $377,791.39           $0.00      $1,598,278.89
          62200 - Accounting                                        $239.30          $239.30        $239.30        $239.30        $239.30        $239.30         $239.30        $239.30           $0.00          $1,914.40
          62300 - Consulting                                     $18,493.92       $47,980.30     $46,710.79     $19,353.02     $59,331.87     $88,198.97     $104,442.36    $150,125.36      $28,710.63        $563,347.22
          62400 - Engineering                                         $0.00            $0.00          $0.00          $0.00          $0.00     $20,000.00      $10,000.00          $0.00           $0.00         $30,000.00
      Total - 62000 - Professional Fees                         $192,046.68      $344,126.46    $417,726.79    $156,530.19    $136,163.54    $230,960.11     $159,120.06    $528,156.05      $28,710.63      $2,193,540.51
      70000 - Facilities
          70010 - Water Treatments                                    $0.00            $0.00      $1,140.84          $0.00    ($27,592.63)   ($144,098.34)    $22,665.68     $18,697.46      ($4,123.36)      ($133,310.35)
          70020 - Water Testing                                       $0.00            $0.00          $0.00          $0.00        $588.00          $45.53         $97.25        $952.50       $1,099.00          $2,782.28
          70030 - Fish Testing                                        $0.00            $0.00          $0.00          $0.00          $0.00         $441.00          $0.00        $735.00           $0.00          $1,176.00
          70100 - Rent                                           ($4,600.00)       $3,844.45      $4,000.00      $2,900.00      $2,300.00       $2,300.00      $6,900.00      $2,300.00           $0.00         $19,944.45
          70200 - Utilities - Electricity                         $8,146.50        $8,660.89     $13,193.51     $22,633.41     $31,264.56      $38,378.95     $65,635.05     $14,773.51           $0.00        $202,686.38
          70210 - Utilities - Gas                                 $1,785.20        $5,424.99      $9,724.99     $10,466.50      $9,538.57      $11,189.06     $11,963.44      $6,408.63       $3,522.16         $70,023.54
          70225 - Sewer                                             $481.50            $0.00          $0.00          $0.00          $0.00           $0.00          $0.00        $517.07           $0.00            $998.57
          70230 - Utilities - LP                                      $0.00            $0.00          $0.00          $0.00          $0.00           $0.00      $1,852.61          $0.00           $0.00          $1,852.61
          70240 - Trash and Landfill                              $2,972.20          $733.00        $506.00          $0.00        $452.73       $6,666.20      $6,871.52     $10,045.55           $0.00         $28,247.20
          70250 - Laboratory Testing                                  $0.00            $0.00          $0.00          $0.00          $0.00           $0.00        $501.35        $485.35           $0.00            $986.70
          70300 - Building Repairs                                $4,720.54            $0.00        $513.44          $0.00      $1,504.78           $0.00      $2,789.91      $8,974.51          $61.06         $18,564.24
          70350 - Expensed Equipment and Repairs                      $0.00            $0.00          $0.00        $900.94        $941.60       $4,846.40     $21,572.21     $17,436.14           $0.00         $45,697.29
          70370 - Expensed Vehicle Repairs                            $0.00            $0.00          $0.00         $27.37        $109.62         $528.52      $5,505.80     $15,961.18       $2,068.22         $24,200.71
          70400 - Security                                         ($513.44)           $0.00        $513.44     $11,282.48        $501.30         $353.10          $0.00          $0.00           $0.00         $12,136.88
          70500 - Janitorial Service                                $321.00          $325.28      $1,538.15        $126.00        $507.63       $8,447.46      $6,095.45      $1,533.80           $0.00         $18,894.77
          70600 - Company Vehicle Operating Lease                 $4,766.39            $0.00     $10,374.66      $3,644.82      $3,104.08     $117,308.40      $5,824.80      $6,368.50       $5,311.93        $156,703.58
      Total - 70000 - Facilities                                 $18,079.89       $18,988.61     $41,505.03     $51,981.52     $23,220.24      $46,406.28    $158,275.07    $105,189.20       $7,939.01        $471,584.85
      72000 - Office
          72010 - Telephone
             72020 - Telephone - Office                            ($285.53)         $176.39      $1,166.98         $64.20        $251.13         $441.61        $401.60        $119.80          $0.00          $2,336.18
             72030 - Telephone - Mobile                             $672.25          $523.83        $531.39        $543.91      $1,017.21         $914.28      $1,333.14        $746.33          $0.00          $6,282.34
             72040 - Telephone - Internet and Web                 $1,385.95          $255.67      $1,480.00        $779.68        $732.27         $557.27        $775.64        $575.44        $135.94          $6,677.86
          Total - 72010 - Telephone                               $1,772.67          $955.89      $3,178.37      $1,387.79      $2,000.61       $1,913.16      $2,510.38      $1,441.57        $135.94         $15,296.38
          72100 - Office Supplies                                   $231.79          $547.64        $619.45        $552.32         $21.72           $5.73        $658.26        $518.06          $0.00          $3,154.97
          72200 - Printing and Reproduction                           $0.00            $0.00          $0.00          $0.00          $0.00           $0.00          $0.00          $0.00          $0.00              $0.00
          72300 - Expensed Computer H/W and S/W                   $1,991.29        $1,588.95          $0.00      $2,871.69      $4,655.23       $2,645.37      $1,160.37      $1,159.81          $0.00         $16,072.71
          72320 - NetSuite Software SAAS Fees                         $0.00       $12,500.00          $0.00          $0.00     $12,500.00           $0.00          $0.00     $12,500.00          $0.00         $37,500.00
          72350 - Expensed Office Furnishings                         $0.00            $0.00          $0.00          $0.00          $0.00           $0.00          $0.00          $0.00          $0.00              $0.00
          72400 - Equipment Rental and Repair                         $0.00            $0.00          $0.00     $10,593.00     $10,700.00           $0.00          $0.00          $0.00          $0.00         $21,293.00
          72500 - Postage and Delivery                              $265.74            $0.00         $75.60        $257.46         $75.74         $333.29        $935.46      $3,035.08        $201.70          $5,180.07
          72600 - Business Licenses / Fees / Tax
             72620 - Licenses and Permits                             $0.00            $0.00        $763.69        $369.56       ($356.44)      $1,910.13      $2,875.53      $1,143.46          $0.00          $6,705.93
             72630 - Franchise and Business Taxes                     $0.00            $0.00          $0.00          $0.00          $0.00           $0.00          $0.00         $82.90          $0.00             $82.90
             72640 - Property Tax                                     $0.00           $19.82          $0.00          $0.00          $0.00           $0.00          $0.00          $0.00          $0.00             $19.82
          Total - 72600 - Business Licenses / Fees / Tax              $0.00           $19.82        $763.69        $369.56       ($356.44)      $1,910.13      $2,875.53      $1,226.36          $0.00          $6,808.65
      Total - 72000 - Office                                      $4,261.49       $15,612.30      $4,637.11     $16,031.82     $29,596.86       $6,807.68      $8,140.00     $19,880.88        $337.64        $105,305.78
      73000 - Insurance
          73100 - Group Health - Medical                              $0.00            $0.00          $0.00          $0.00          $0.00          $0.00           $0.00          $33.00          $0.00            $33.00
          73500 - Work Comp                                           $0.00            $0.00          $0.00          $0.00          $0.00          $0.00           $0.00           $0.00          $0.00             $0.00
          73600 - Liability Insurance                                 $0.00            $0.00          $0.00          $0.00          $0.00     $34,795.55           $0.00           $0.00          $0.00        $34,795.55
          73800 - Auto Coverage                                       $0.00            $0.00          $0.00          $0.00          $0.00     $13,552.70           $0.00           $0.00          $0.00        $13,552.70
          73900 - Property Insurance                                  $0.00            $0.00          $0.00          $0.00     $22,500.00      $2,500.00           $0.00        ($565.58)    ($7,739.00)       $16,695.42
      Total - 73000 - Insurance                                       $0.00            $0.00          $0.00          $0.00     $22,500.00     $50,848.25           $0.00        ($532.58)    ($7,739.00)       $65,076.67
      75000 - Marketing
          75100 - Marketing                                           $0.00            $0.00          $0.00          $0.00          $0.00           $0.00          $0.00       $5,060.00          $0.00          $5,060.00
          75300 - Whole Fish Samples                                  $0.00            $0.00          $0.00          $0.00          $0.00           $0.00      $3,250.00           $0.00          $0.00          $3,250.00
      Total - 75000 - Marketing                                       $0.00            $0.00          $0.00          $0.00          $0.00           $0.00      $3,250.00       $5,060.00          $0.00          $8,310.00
      76000 - Travel & Entertainment
          76100 - Meals                                              $0.00           $385.40        $714.29        $354.03        $623.20      $1,094.44         $693.65      $1,544.78           $0.00         $5,409.79
          76200 - Entertainment                                      $0.00             $0.00          $0.00          $0.00          $0.00          $0.00           $0.00          $0.00           $0.00             $0.00
          76600 - Travel                                           $727.24        $14,066.34      $4,653.80      $3,541.78      $4,494.26     $23,525.03      $19,561.33     $31,040.34       $3,756.68       $105,366.80
      Total - 76000 - Travel & Entertainment                       $727.24        $14,451.74      $5,368.09      $3,895.81      $5,117.46     $24,619.47      $20,254.98     $32,585.12       $3,756.68       $110,776.59
      78000 - Other Operating Expense
          78100 - Bank Service Charges                             $422.65          $829.25        $791.80        $759.19        $791.53         $807.54        $933.38        $6,546.70         $15.68        $11,897.72
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          78400 - Dues and Subscriptions                            $0.00           $0.00           $0.00           $0.00           $0.00           $0.00           $0.00           $0.00          $0.00             $0.00
          78900 - Miscellaneous                                  ($272.40)       ($288.00)      $2,444.36      ($1,864.89)      $3,405.09       $8,016.17       $1,185.00      $25,243.50      $6,158.89        $44,027.72
          78950 - Late fees charges                                 $0.00           $0.00           $0.00           $0.00           $0.00           $0.00           $0.00           $0.00          $0.00             $0.00
      Total - 78000 - Other Operating Expense                     $150.25         $541.25       $3,236.16      ($1,105.70)      $4,196.62       $8,823.71       $2,118.38      $31,790.20      $6,174.57        $55,925.44
      79000 - Depreciation & Amortization
          79100 - Depreciation                                $239,451.38     $353,475.85     $353,475.85     $353,475.85     $353,475.85     $353,475.85     $353,475.85     $353,475.85    $117,825.00     $2,831,607.33
          79200 - Amortization                                 $14,032.26      $20,714.29      $20,714.29      $20,714.29      $20,714.29      $20,714.29      $20,714.29      $20,714.29      $6,905.00       $165,937.29
      Total - 79000 - Depreciation & Amortization             $253,483.64     $374,190.14     $374,190.14     $374,190.14     $374,190.14     $374,190.14     $374,190.14     $374,190.14    $124,730.00     $2,997,544.62
   Total - Expense                                            $511,439.82     $810,400.71     $900,771.90     $668,568.07     $688,884.73     $894,362.50     $847,167.76 $1,433,368.27      $163,909.53     $6,918,873.29
Net Ordinary Income                                          ($511,439.82)   ($810,400.71)   ($901,543.35)   ($671,448.87)   ($786,675.71)   ($891,102.94)   ($856,968.46) ($1,691,798.75)   ($32,035.24)   ($7,153,413.85)
Other Income and Expenses
   Other Income
      80000 - Other Income
          81000 - Interest Income                                   $0.00           $0.00           $0.00           $0.00           $0.00           $0.00           $0.00           $0.00        $334.34           $334.34
          81300 - Change FV of Biological Assets                    $0.00           $0.00           $0.00           $0.00     ($94,229.88)   ($153,507.13)   ($211,125.83)   ($723,876.73)         $0.00    ($1,182,739.57)
          81920 - Other Income - Sale of Scrap Materials            $0.00           $0.00           $0.00           $0.00           $0.00         $246.41           $0.00           $0.00        $112.00           $358.41
          81930 - Beam Building Site Cleanup Income                 $0.00           $0.00           $0.00           $0.00           $0.00           $0.00           $0.00           $0.00          $0.00             $0.00
      Total - 80000 - Other Income                                  $0.00           $0.00           $0.00           $0.00     ($94,229.88)   ($153,260.72)   ($211,125.83)   ($723,876.73)       $446.34    ($1,182,046.82)
   Total - Other Income                                             $0.00           $0.00           $0.00           $0.00     ($94,229.88)   ($153,260.72)   ($211,125.83)   ($723,876.73)       $446.34    ($1,182,046.82)
   Other Expense
      82000 - Other Expenses
          82100 - Interest Expense                            $328,500.00     $465,000.00     $474,000.00     $426,425.19     $468,051.97     $460,453.21     $440,380.94     $452,966.95     $156,022.81    $3,671,801.07
          82950 - Loss (Gain) on Sale of Assets                     $0.00           $0.00           $0.00           $0.00           $0.00     ($17,500.00)          $0.00           $0.00           $0.00      ($17,500.00)
      Total - 82000 - Other Expenses                          $328,500.00     $465,000.00     $474,000.00     $426,425.19     $468,051.97     $442,953.21     $440,380.94     $452,966.95     $156,022.81    $3,654,301.07
   Total - Other Expense                                      $328,500.00     $465,000.00     $474,000.00     $426,425.19     $468,051.97     $442,953.21     $440,380.94     $452,966.95     $156,022.81    $3,654,301.07
Net Other Income                                             ($328,500.00)   ($465,000.00)   ($474,000.00)   ($426,425.19)   ($562,281.85)   ($596,213.93)   ($651,506.77) ($1,176,843.68)   ($155,576.47) ($4,836,347.89)
Net Income                                                   ($839,939.82) ($1,275,400.71) ($1,375,543.35) ($1,097,874.06) ($1,348,957.56) ($1,487,316.87) ($1,508,475.23) ($2,868,642.43)   ($187,611.71) ($11,989,761.74)
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Chapter 11 Monthly Operating Report (Schedule Receipts and Disbursements)

Case No.         18-01297                                     Report Month/Year       May 2019
Debtor           VeroBlue Farms USA, Inc.

                                                                     Current            Cumulative
                                                                      Month            Petition to Date

Summary

Beginning Cash Balance, per Debtor's Books - (all accounts)   $          236,694.92   $      33,399.72

Total Cash Receipts                                           $          402,500.00   $   4,253,450.20

Total Cash Disbursements                                      $          278,644.26   $   3,926,299.26

Net Cash Flow                                                 $          123,855.74   $    327,150.94

Ending Cash Balance, per Debtor's Books - (all accounts)      $          360,550.66   $    360,550.66
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Chapter 11 Monthly Operating Report (Schedule Receipts and Disbursements)

Case No.           18-01297                                       Report Month/Year   May 2019
Debtor             VeroBlue Farms USA, Inc.

                                                                        Current            Cumulative
Depoisitory (bank) Name:                       VeroBlue Farms            Month            Petition to Date
Account Number:                                Petty Cash


Beginning Cash Balance, per Debtor's Books                        $               -   $                -

Add:               Transfers in from other estate bank accounts   $               -   $               -
                   Cash Receipts deposited to this account        $               -   $         79,138.00

Subtract:          Transfers out to other estate bank accounts    $               -   $          7,008.15
                   Cash Disbursements from this account           $               -   $         72,129.85

Net Cash Flow                                                     $               -   $                -
(receipts and transfers in less disbursements and tranfers out




Ending Cash Balance, per Debtor's Books                           $               -   $                -




Does this CONTINUATION SHEET include the following supporting documents?

                                                                  Yes                 No

Detailed list of receipts and disbursements                       x
Bank Statement                                                                        x
Bank Reconcillation                                                                   x
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Chapter 11 Monthly Operating Report (Schedule Receipts and Disbursements)

Case No.           18-01297                                        Report Month/Year   May 2019
Debtor             VeroBlue Farms USA, Inc.

                                                                         Current         Cumulative
Depoisitory (bank) Name:                       First State Bank           Month         Petition to Date
Account Number:                                   1071424


Beginning Cash Balance, per Debtor's Books                         $               -   $      33,205.51

Add:               Transfers in from other estate bank accounts    $               -   $            -
                   Cash Receipts deposited to this account         $               -   $     445,978.15

Subtract:          Transfers out from other estate bank accounts   $               -   $     283,775.17
                   Cash Disbursements from this account            $               -   $     195,408.49

Net Cash Flow                                                      $               -   $     (33,205.51)
(receipts and transfers in less disbursements and tranfers out




Ending Cash Balance, per Debtor's Books                            $               -   $             -




Does this CONTINUATION SHEET include the following supporting documents?

                                                                   Yes                 No

Detailed list of receipts and disbursements                                            closed account
Bank Statement                                                                         x
Bank Reconcillation                                                                    x
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Chapter 11 Monthly Operating Report (Schedule Receipts and Disbursements)

Case No.           18-01297                                        Report Month/Year   May 2019
Debtor             VeroBlue Farms USA, Inc.

                                                                         Current         Cumulative
Depoisitory (bank) Name:                       First State Bank           Month         Petition to Date
Account Number:                                   1098136


Beginning Cash Balance, per Debtor's Books                         $               -   $          194.21

Add:               Transfers in from other estate bank accounts    $               -   $             -
                   Cash Receipts deposited to this account         $               -   $           10.00

Subtract:          Transfers out from other estate bank accounts   $               -   $          204.21
                   Cash Disbursements from this account            $               -   $             -

Net Cash Flow                                                      $               -   $          (194.21)
(receipts and transfers in less disbursements and tranfers out




Ending Cash Balance, per Debtor's Books                            $               -   $              -




Does this CONTINUATION SHEET include the following supporting documents?

                                                                   Yes                 No

Detailed list of receipts and disbursements                                            closed account
Bank Statement                                                                         x
Bank Reconcillation                                                                    x
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Chapter 11 Monthly Operating Report (Schedule Receipts and Disbursements)

Case No.           18-01297                                        Report Month/Year    May 2019
Debtor             VeroBlue Farms USA, Inc.

                                                                         Current          Cumulative
Depoisitory (bank) Name:                       VeroBlue Farms             Month          Petition to Date
Account Number:                                   1103423


Beginning Cash Balance, per Debtor's Books                         $        32,606.21   $             -

Add:               Transfers in from other estate bank accounts    $              -     $      290,987.53
                   Cash Receipts deposited to this account         $       402,500.00   $    3,523,825.04

Subtract:          Transfers out from other estate bank accounts   $              -     $             -
                   Cash Disbursements from this account            $       278,644.26   $    3,658,350.62

Net Cash Flow                                                      $       123,855.74   $     156,461.95
(receipts and transfers in less disbursements and tranfers out




Ending Cash Balance, per Debtor's Books                            $       156,461.95   $     156,461.95




Does this CONTINUATION SHEET include the following supporting documents?

                                                                   Yes                  No

Detailed list of receipts and disbursements                        X
Bank Statement                                                     X
Bank Reconcillation                                                X
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Chapter 11 Monthly Operating Report -
Cash Receipts and Disbursements Statement

Case No.                     18-01297                                  Report Month/Year         May 2019
Debtor                       VeroBlue Farms USA, Inc.

                                                         For Period:   5/1/2019 to 5/21/2019


                                                                       Account Number                         1103423


Cash Receipts Detail - Transfers IN

           Date                                Payer                              Description          Amount


Total Cash Receipts                                                                                                -


Cash Receipts Detail - Deposits

           Date                               Payer                                Description         Amount
                  05/06/19 Alder                                       Loan Advance                       250,000.00
                  05/07/19 Airdale - via wire by Davis Law Firm        Collections                          2,500.00
                  05/20/19 Alder                                       Loan Advance                       150,000.00

Total Cash Receipts                                                                                         402,500.00


Cash Disbursements Detail

           Date                                Payer                              Description          Amount
                  05/01/19   Nextep                                    Payroll                             23,097.07
                  05/02/19   City of Webster City - Utility Office     utilities                            1,201.86
                  05/02/19   Hamilton County Treasurer                 license                                 19.82
                  05/02/19   RC Mechanical                             Contract Labor                         513.00
                  05/02/19   Ruba Lawn Care                            maintenance                            325.28
                  05/02/19   Woolstock Mutual Telephone Assn           phone                                  119.90
                  05/02/19   AE Properties, LLC                        rent                                   600.00
                  05/02/19   JTS Investment LLC                        rent                                 1,100.00
                  05/04/19   phone                                     Supplies                                63.33
                  05/04/19   internet                                  gas                                      1.24
                  05/04/19   First State Bank                          bank fees                               21.40
                  05/08/19   Ag & Business Legal Strategies            Professional                        17,862.20
                  05/08/19   Davis Brown Law Firm                      Professional                        15,942.69
                  05/08/19   Elderkin & Pirnie                         Professional                        25,588.21
                  05/08/19   Moglia                                    Professional                        13,888.14
                  05/08/19   Thompson Coburn LLP                       Professional                        42,118.84
                  05/10/19   Black Hills Energy                        utilities                            4,472.87
                  05/10/19   City of Webster City - Utility Office     utilities                            6,423.70
                  05/10/19   Mediacom                                  utilities                            1,146.15
                  05/10/19   Randy Chalfant                            maintenance                            275.48
                  05/10/19   Whitehair Consulting LLC                  Professional                         2,492.00
                  05/10/19   Ag & Business Legal Strategies            Professional                         1,772.90
                  05/10/19   Davis Brown Law Firm                      Professional                         2,940.00
                  05/10/19   Elderkin & Pirnie                         Professional                         7,017.50
                  05/10/19   Moglia                                    Professional                         2,445.73
                  05/10/19   Thompson Coburn LLP                       Professional                        65,263.30
                  05/11/19   postage                                   postage                                165.74


                                                                                                                 1 of 2
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              05/11/19   office                          Office                                 68.00
              05/11/19   Supplies                        supplies                              127.33
              05/11/19   First State Bank                bank fees                             256.80
              05/14/19   NexStep                         Payroll                            18,584.56
              05/16/19   Blackhawk Sprinklers, Inc.      maintenance                         1,052.20
              05/16/19   Evans Floor Covering            maintenance                         4,163.00
              05/16/19   Ford Credit (post BK)           lease                               1,822.41
              05/16/19   Prairie Energy Cooperative      utilities                             738.89
              05/16/19   RC Mechanical                   Contract Labor                        613.00
              05/16/19   TSX Trust Company               Office                                239.30
              05/16/19   Wells Fargo Equipment Finance   lease                               1,121.57
              05/16/19   Windstream                      phone                                  95.71
              05/17/19   Oracle                          software                           12,500.00
              05/18/19   Travel Gas                      gas                                   129.07
              05/18/19   Travel Omni Tracs               Travel                                 46.80
              05/18/19   Verizon                         phone                                 148.42
              05/18/19   First State Bank                bank fees                              58.85

Total Cash Disbursements                                                                   278,644.26




                                                                                                  2 of 2
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VeroBlue Farms USA, Inc.
Bank Reconciliation
First State Bank
Account Number XXX3423
May 31, 2019


Balance per bank                                                  29,525.92

Plus: Deposits in transit                _________




Total Deposits in transit                             ________

Sub-total                                             29,525.92

Less: Checks outstanding        8044          70.46
                                8447       2,721.12
                                8452       5,000.00


Total checks outstanding                   7,791.58

Adjusted bank balance                     21,734.34

Balance per general ledger                21,734.34

Unreconciled difference
        Case 18-01297     Doc 590   Filed 06/26/19 Entered 06/26/19 14:49:18 Desc Main
                                    Document      Page 15Statement
                                                          of 57       Ending 05/31/2019
                                                      VEROBLUE FARMS USA INC                    Page 1 of 32
                                                      Account Number:1103423


   RETURN SERVICE REQUESTED                               Managing Your Accounts
                                                                               505 Second St
                                                             Mailing Address
                                                                               Webster City IA 50595
   VEROBLUE FARMS USA INC                                    Phone Number      (515) 832-2520
   401 DES MOINES ST
   WEBSTER CITY IA 50595-1406                                Online Banking    www.fsbwc.com
                                                             Telephone         (515) 832-4860
                                                             Banking           (888) 372-4880




Summary of Accounts
Account Type                                         Account Number                       Ending Balance
Business Basic                                               1103423                           $29,525.92




      4322BB5A3828574D93D3B65AC9792CCE         20190531          Checking Account Statements
VEROBLUE FARMS USA INC                          1103423                        Statement Ending 05/31/2019                       Page 2 of 32
          Case 18-01297   Doc 590ORFiled
               IN CASE OF ERRORS         06/26/19
                                   QUESTIONS       Entered
                                               ABOUT YOUR 06/26/19 14:49:18
                                                            ELECTRONIC      Desc Main
                                                                       TRANSFERS
                                   Document      Page 16 of 57
 Telephone us at (515) 832-2520 or write us at FIRST STATE BANK, 505 SECOND STREET / PO BOX 70, WEBSTER CITY,
 IOWA 50595 as soon as you can, if you think your statement or receipt is wrong or you need more information about a transfer on the
 statement or receipt. We must hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem
 appeared.
 (1) Tell us your name and account number (if any).
 (2) Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why you
     need more information.
 (3) Tell us the dollar amount of the suspected error.
 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will re-credit
 your account for the amount you think is in error so that you will have use of the money during the time it takes us to complete the
 investigation.

             BILLING RIGHTS SUMMARY - IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR BILL
 If you think there is an error on your statement, or if you need more information about a transaction on your statement, write us (on a
 separate sheet) at FIRST STATE BANK, 505 SECOND STREET / PO BOX 70, WEBSTER CITY, IOWA 50595 as soon as possible.
 We must hear from you no later than 60 days after we send you the first statement on which the error or problem appeared. You can
 telephone us, but doing so will not preserve your rights.
 In your letter, give us the following information:
     - Your name and account number
     - The dollar amount of the suspected error
     - Describe the error and explain, if you can, why you believe there is an error. If you need more information, describe the item you are
       unsure about.
 You do not have to pay any amount in question while we are investigating, but you are still obligated to pay the parts of your bill that are
 not in question. While we investigate your question, we cannot report you as delinquent or take any action to collect the amount you
 question.

                                       THIS FORM IS PROVIDED TO HELP YOU
                                 BALANCE YOUR CHECKBOOK WITH YOUR STATEMENT
     CHECKS OUTSTANDING                           1. In your checkbook, enter the interest earned on your account as it appears on the
    NUMBER               AMOUNT                      front of the statement.
                                                  2. Verify that checks are charged on statement for amount drawn.
                                                  3. Be sure that the Service Charge (if any) or other authorized deductions shown on
                                                     this statement have been deducted from your checkbook balance.
                                                  4. Verify that all deposits have been credited for the same amount as on your records.
                                                  5. Be sure that all checks outstanding on previous statement have been included in
                                                     this statement (otherwise they are still outstanding.)
                                                  6. Check off in your checkbook each of the checks paid by us.
                                                  7. Make a list of the numbers and amounts of those checks still outstanding in the
                                                     space provided at the left.


                                                                 8.        ENTER FINAL
                                                                            BALANCE AS
                                                                          PER STATEMENT

                                                                 9.    ADD
                                                                           ANY DEPOSITS
                                                                           NOT CREDITED



                                                                 10.           TOTAL
                                                                 11. SUBTRACT
      TOTAL                                         CARRY                    CHECKS
   OUTSTANDING                                       OVER                  OUTSTANDING

                                                                 12. BALANCE
                                                                       SHOULD AGREE WITH
                                                                       YOUR CHECKBOOK



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Business Basic-1103423
Account Summary
Date         Description                              Amount      Description                               Amount
05/01/2019   Beginning Balance                      $47,073.34    Average Ledger Balance                  $70,737.76
             3 Credit(s) This Period               $402,500.00
             135 Debit(s) This Period              $420,047.42
05/31/2019   Ending Balance                         $29,525.92
             Service Charges                            $80.00

Account Activity
Post Date    Description                                                Debits             Credits          Balance
05/01/2019   Beginning Balance                                                                            $47,073.34
05/01/2019   SALES TAX OUTGOING WIRE TRANSFER                            $1.40                            $47,071.94
05/01/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                        $20.00                            $47,051.94
05/01/2019   XX6906 POS PURCHASE AT LYFT * SCOOTER RIDE                  $1.24                            $47,050.70
             8552800278 CA 490002 912100008
05/01/2019   XX7911 POS PURCHASE AT CASEYS GEN STORE 1828               $63.33                            $46,987.37
             WEBSTER CITY IA 490002 91210
05/01/2019   DOMESTIC OUTGOING WIRE TRANSFER TO: NEXTEP             $23,097.07                            $23,890.30
             BUSINESS SOLUTIONS
05/01/2019   CHECK # 8420                                             $116.50                             $23,773.80
05/01/2019   CHECK # 8424                                             $381.24                             $23,392.56
05/01/2019   CHECK # 8423                                             $892.02                             $22,500.54
05/01/2019   CHECK # 8417                                           $12,011.81                            $10,488.73
05/03/2019   CHECK # 8428                                             $513.00                              $9,975.73
05/06/2019   DOMESTIC INCOMING WIRE TRANSFER FROM:DAVIS                                $2,500.00          $12,475.73
             BROWN KOEHN SHORS & ROBERTS
05/06/2019   SALES TAX INCOMING WIRE TRANSFER                            $1.40                            $12,474.33
05/06/2019   DOMESTIC INCOMING WIRE TRANSFER FEE                        $20.00                            $12,454.33
05/06/2019   XX7911 POS PURCHASE AT SAMSCLUB.COM WAX                    $27.33                            $12,427.00
             888-746-7726 AR 490002 912400091
05/06/2019   XX7911 POS PURCHASE AT ADVANCED FAMILY MEDICI              $68.00                            $12,359.00
             WEBSTER CITY IA 490002 9124
05/06/2019   XX7911 POS PURCHASE AT SAMSCLUB.COM WAX                   $100.00                            $12,259.00
             888-746-7726 AR 490002 912400091
05/07/2019   DOMESTIC INCOMING WIRE TRANSFER FROM: ALDER                             $250,000.00         $262,259.00
             AQUA LTD ADVANCE
05/07/2019   SALES TAX INCOMING WIRE TRANSFER                            $1.40                           $262,257.60
05/07/2019   DOMESTIC INCOMING WIRE TRANSFER FEE                        $20.00                           $262,237.60
05/08/2019   SALES TAX OUTGOING WIRE TRANSFER                            $1.40                           $262,236.20
05/08/2019   SALES TAX OUTGOING WIRE TRANSFER                            $1.40                           $262,234.80
05/08/2019   SALES TAX OUTGOING WIRE TRANSFER                            $1.40                           $262,233.40
05/08/2019   SALES TAX OUTGOING WIRE TRANSFER                            $1.40                           $262,232.00
05/08/2019   SALES TAX OUTGOING WIRE TRANSFER                            $1.40                           $262,230.60
05/08/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                        $20.00                           $262,210.60
05/08/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                        $20.00                           $262,190.60


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Account Activity (continued)
Post Date    Description                                               Debits             Credits          Balance
05/08/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                       $20.00                           $262,170.60
05/08/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                       $20.00                           $262,150.60
05/08/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                       $20.00                           $262,130.60
05/08/2019   XX7384 POS PURCHASE AT PITNEY BOWES PI                    $73.14                           $262,057.46
             844-256-6444 CT 490002 912800033
05/08/2019   XX7384 POS PURCHASE AT PITNEY BOWES PI                    $92.60                           $261,964.86
             844-256-6444 CT 490002 912800033
05/08/2019   DOMESTIC OUTGOING WIRE TRANSFER TO:MOGLIA             $13,888.14                           $248,076.72
             ADVISORS
05/08/2019   DOMESTIC OUTGOING WIRE TRANSFER TO:DAVIS              $15,942.69                           $232,134.03
             BROWN KOEHN SHORS ROBERTS
05/08/2019   DOMESTIC OUTGOING WIRE TRANSFER TO:PEIFFER            $17,862.20                           $214,271.83
             LAW OFFICE
05/08/2019   DOMESTIC OUTGOING WIRE TRANSFER TO:ELDERKIN           $25,588.21                           $188,683.62
             & PIRNIE PLC TRUST ACCOUNT
05/08/2019   DOMESTIC OUTGOING WIRE TRANSFER TO:THOMPSON           $42,118.84                           $146,564.78
             COBURN LLP
05/09/2019   CHECK # 8432                                           $1,100.00                           $145,464.78
05/10/2019   SALES TAX OUTGOING WIRE TRANSFER                           $1.40                           $145,463.38
05/10/2019   SALES TAX OUTGOING WIRE TRANSFER                           $1.40                           $145,461.98
05/10/2019   SALES TAX OUTGOING WIRE TRANSFER                           $1.40                           $145,460.58
05/10/2019   SALES TAX OUTGOING WIRE TRANSFER                           $1.40                           $145,459.18
05/10/2019   SALES TAX OUTGOING WIRE TRANSFER                           $1.40                           $145,457.78
05/10/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                       $20.00                           $145,437.78
05/10/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                       $20.00                           $145,417.78
05/10/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                       $20.00                           $145,397.78
05/10/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                       $20.00                           $145,377.78
05/10/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                       $20.00                           $145,357.78
05/10/2019   DOMESTIC OUTGOING WIRE TRANSFER TO: PEIFFER            $1,772.90                           $143,584.88
             LAW OFFICE PC
05/10/2019   DOMESTIC OUTGOING WIRE TRANSFER TO: DAVIS,             $2,445.73                           $141,139.15
             BROWN, KOEHN, SHORS & ROBERTS
05/10/2019   DOMESTIC OUTGOING WIRE TRANSFER TO: MOGLIA             $2,940.00                           $138,199.15
             ADVISORS
05/10/2019   DOMESTIC OUTGOING WIRE TRANSFER TO: ELDERKIN           $7,017.50                           $131,181.65
             & PIRNIE PLC
05/10/2019   DOMESTIC OUTGOING WIRE TRANSFER TO:                   $65,263.30                            $65,918.35
             THOMPSON COBURN
05/13/2019   XX7384 POS PURCHASE AT OMNITRACS, INC. DALLAS             $46.80                            $65,871.55
             TX 490002 913300079
05/13/2019   XX6906 POS PURCHASE AT MARATHON PETRO56812                $57.54                            $65,814.01
             ELKRIDGE MD 490002 913300053
05/13/2019   XX6906 POS PURCHASE AT VZWRLSS* MY VZ VN P               $148.42                            $65,665.59
             800-922-0204 FL 490002 91330010
05/13/2019   CHECK # 8422                                            $262.10                             $65,403.49
05/13/2019   CHECK # 8436                                            $275.48                             $65,128.01
05/13/2019   CHECK # 8426                                           $1,201.86                            $63,926.15
05/13/2019   CHECK # 8433                                           $4,472.87                            $59,453.28
05/13/2019   CHECK # 8434                                           $6,423.70                            $53,029.58
05/13/2019   MONTHLY BUSINESS DEBIT CARD FEE BUSINESS DEBIT             $5.00                            $53,024.58
             536906
05/13/2019   MONTHLY BUSINESS DEBIT CARD FEE BUSINESS DEBIT             $5.00                            $53,019.58
             587384
05/13/2019   MONTHLY BUSINESS DEBIT CARD FEE BUSINESS DEBIT             $5.00                            $53,014.58
             587911
05/13/2019   SALES TAX                                                  $1.05                            $53,013.53
05/14/2019   CHECK # 8427                                              $19.82                            $52,993.71
05/14/2019   CHECK # 8430                                            $119.90                             $52,873.81
05/14/2019   CHECK # 8437                                           $2,492.00                            $50,381.81
05/15/2019   SALES TAX OUTGOING WIRE TRANSFER                           $1.40                            $50,380.41
05/15/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                       $20.00                            $50,360.41
05/15/2019   XX7911 POS PURCHASE AT PILOT 00005728 WILLIAMS            $71.53                            $50,288.88
             IA 490002 913500000
05/15/2019   DOMESTIC OUTGOING WIRE TRANSFER TO: NEXTEP            $18,584.56                            $31,704.32
             BUSINESS SOLUTIONS



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Post Date    Description                                               Debits             Credits          Balance
05/15/2019   CHECK # 8429                                             $325.28                            $31,379.04
05/15/2019   CHECK # 8435                                           $1,146.15                            $30,232.89
05/17/2019   SALES TAX OUTGOING WIRE TRANSFER                           $1.40                            $30,231.49
05/17/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                       $20.00                            $30,211.49
05/17/2019   DOMESTIC OUTGOING WIRE TRANSFER TO: ORACLE            $12,500.00                            $17,711.49
             AMERICA
05/17/2019   CHECK # 8431                                             $600.00                            $17,111.49
05/17/2019   CHECK # 8442                                             $613.00                            $16,498.49
05/17/2019   CHECK # 8419                                             $733.00                            $15,765.49
05/20/2019   DOMESTIC INCOMING WIRE TRANSFER FROM:ALDER                             $150,000.00         $165,765.49
             AQUA LTD
05/20/2019   SALES TAX INCOMING WIRE TRANSFER                           $1.40                           $165,764.09
05/20/2019   DOMESTIC INCOMING WIRE TRANSFER FEE                       $20.00                           $165,744.09
05/20/2019   XX7911 POS PURCHASE AT LASER CAR WASH                     $10.00                           $165,734.09
             WEBSTER CITY IA 490002 913800110
05/21/2019   XX7911 POS PURCHASE AT WEBSTER CITY TRUE VALU             $26.46                           $165,707.63
             WEBSTER CITY IA 923080 2037
05/21/2019   XX7911 RECUR PURCHASE. VIASAT 8554639333 CA               $93.51                           $165,614.12
             490002 914100004
05/22/2019   XX7911 POS PURCHASE AT PITNEY BOWES PBP                  $100.00                           $165,514.12
             844-256-6444 CT 490002 914200035
05/23/2019   XX7384 POS PURCHASE AT UBERCONFERENCE                     $64.20                           $165,449.92
             4158429989 CA 490002 914300008
05/24/2019   SALES TAX OUTGOING WIRE TRANSFER                           $1.40                           $165,448.52
05/24/2019   SALES TAX OUTGOING WIRE TRANSFER                           $1.40                           $165,447.12
05/24/2019   SALES TAX OUTGOING WIRE TRANSFER                           $1.40                           $165,445.72
05/24/2019   SALES TAX OUTGOING WIRE TRANSFER                           $1.40                           $165,444.32
05/24/2019   SALES TAX OUTGOING WIRE TRANSFER                           $1.40                           $165,442.92
05/24/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                       $20.00                           $165,422.92
05/24/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                       $20.00                           $165,402.92
05/24/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                       $20.00                           $165,382.92
05/24/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                       $20.00                           $165,362.92
05/24/2019   DOMESTIC OUTGOING WIRE TRANSFER FEE                       $20.00                           $165,342.92
05/24/2019   XX6906 RECUR PURCHASE. MCAFEE *                           $42.79                           $165,300.13
             WWW.MCAFEE.COM 866-622-3911 TX 490002 9144
05/24/2019   DOMESTIC OUTGOING WIRE TRANSFER TO:PEIFFER             $1,384.13                           $163,916.00
             LAW OFFICE P.C.
05/24/2019   DOMESTIC OUTGOING WIRE TRANSFER TO:MOGLIA              $1,917.50                           $161,998.50
             ADVISORS
05/24/2019   DOMESTIC OUTGOING WIRE TRANSFER TO:DAVIS               $6,860.08                           $155,138.42
             BROWN KOEHN SHORS ROBERTS
05/24/2019   DOMESTIC OUTGOING WIRE TRANSFER TO:ELDERKIN           $11,332.00                           $143,806.42
             & PIRNIE PLC
05/24/2019   DOMESTIC OUTGOING WIRE TRANSFER TO:THOMPSON           $56,329.44                            $87,476.98
             CORBURN LLP
05/24/2019   CHECK # 8439                                           $4,163.00                            $83,313.98
05/28/2019   XX6906 POS WITHDRAWAL. KWIK STAR 924 WEBSTER               $8.39                            $83,305.59
             CITY IA 727877 31787700
05/28/2019   XX6906 POS WITHDRAWAL. KWIK STAR #703 DIKE IA              $9.55                            $83,296.04
             720549 23054900
05/28/2019   XX6906 POS WITHDRAWAL. IOWA 80 TRUCKSTOP                  $13.55                            $83,282.49
             WALCOTT IA 927481 98171840
05/28/2019   XX7384 RECUR PURCHASE. GRASSHOPPER.COM                    $21.08                            $83,261.41
             LOGMEIN.COM MA 490002 914700130
05/28/2019   XX6906 POS PURCHASE AT U-HAUL MOVING & STORAG             $25.52                            $83,235.89
             MUNCIE IN 490002 914700026
05/28/2019   XX6906 POS PURCHASE AT BP#9257809IOWA 80 TQPS             $42.46                            $83,193.43
             WALCOTT IA 490002 914800054
05/28/2019   XX6906 POS PURCHASE AT SHEETZ 00004291                    $59.07                            $83,134.36
             TRIADELPHIA WV 490002 914700019
05/28/2019   XX6906 POS PURCHASE AT MARATHON PETRO87536                $62.00                            $83,072.36
             REDKEY IN 490002 914800001
05/28/2019   XX7911 POS PURCHASE AT CASEYS GEN STORE 3054              $63.35                            $83,009.01
             WEBSTER CITY IA 490002 91450
05/28/2019   CHECK # 8449                                             $289.91                            $82,719.10



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Account Activity (continued)
Post Date       Description                                                      Debits                Credits           Balance
05/28/2019      CHECK # 8441                                                   $738.89                                 $81,980.21
05/28/2019      CHECK # 8438                                                  $1,052.20                                $80,928.01
05/29/2019      SALES TAX OUTGOING WIRE TRANSFER                                  $1.40                                $80,926.61
05/29/2019      DOMESTIC OUTGOING WIRE TRANSFER FEE                              $20.00                                $80,906.61
05/29/2019      XX6906 POS PURCHASE AT PIZZA HUT 036310                          $20.18                                $80,886.43
                WEBSTER CITY IA 490002 914900083
05/29/2019      XX6906 POS PURCHASE AT KWIK STAR 70300007039                     $24.79                                $80,861.64
                DIKE IA 490002 914900005
05/29/2019      XX6906 POS PURCHASE AT BP#9257809IOWA 80 TQPS                    $41.58                                $80,820.06
                WALCOTT IA 490002 914900105
05/29/2019      DOMESTIC OUTGOING WIRE TRANSFER TO: NEXTEP                   $18,726.44                                $62,093.62
                BUSINSS SOLUTIONS
05/29/2019      CHECK # 8445                                                     $95.71                                $61,997.91
05/29/2019      CHECK # 8443                                                   $239.30                                 $61,758.61
05/29/2019      CHECK # 8450                                                   $381.24                                 $61,377.37
05/29/2019      CHECK # 8444                                                  $1,121.57                                $60,255.80
05/29/2019      CHECK # 8440                                                  $1,822.41                                $58,433.39
05/29/2019      CHECK # 8451                                                  $4,580.00                                $53,853.39
05/29/2019      CHECK # 8446                                                 $23,564.23                                $30,289.16
05/30/2019      XX6906 POS PURCHASE AT KWIK STAR 92400009241                     $18.67                                $30,270.49
                WEBSTER CITY IA 490002 91500
05/30/2019      XX6906 POS PURCHASE AT LOVES COUNTRY 00003673                    $29.76                                $30,240.73
                LE ROY IL 490002 915000008
05/30/2019      XX6906 POS PURCHASE AT MARATHON PETRO65003                       $41.90                                $30,198.83
                MUNCIE IN 490002 915000026
05/30/2019      XX6906 POS PURCHASE AT MARATHON PETRO157479                      $44.34                                $30,154.49
                URBANA IL 490002 915000025
05/30/2019      CHECK # 8448                                                     $25.15                                $30,129.34
05/31/2019      XX6906 POS PURCHASE AT U-HAUL MOVING & STORAG                   $121.82                                $30,007.52
                800-789-3638 IN 490002 9151
05/31/2019      CHECK # 8453                                                    $396.00                                $29,611.52
05/31/2019      SERVICE CHARGE                                                   $80.00                                $29,531.52
05/31/2019      SALES TAX                                                         $5.60                                $29,525.92
05/31/2019      Ending Balance                                                                                         $29,525.92

Checks Cleared
        Check Nbr               Date                Amount                 Check Nbr                   Date              Amount
              8417        05/01/2019              $12,011.81                    8436             05/13/2019              $275.48
              8419*       05/17/2019                 $733.00                    8437             05/14/2019             $2,492.00
              8420        05/01/2019                 $116.50                    8438             05/28/2019             $1,052.20
              8422*       05/13/2019                 $262.10                    8439             05/24/2019             $4,163.00
              8423        05/01/2019                 $892.02                    8440             05/29/2019             $1,822.41
              8424        05/01/2019                 $381.24                    8441             05/28/2019              $738.89
              8426*       05/13/2019               $1,201.86                    8442             05/17/2019              $613.00
              8427        05/14/2019                  $19.82                    8443             05/29/2019              $239.30
              8428        05/03/2019                 $513.00                    8444             05/29/2019             $1,121.57
              8429        05/15/2019                 $325.28                    8445             05/29/2019                $95.71
              8430        05/14/2019                 $119.90                    8446             05/29/2019            $23,564.23
              8431        05/17/2019                 $600.00                    8448*            05/30/2019                $25.15
              8432        05/09/2019               $1,100.00                    8449             05/28/2019              $289.91
              8433        05/13/2019               $4,472.87                    8450             05/29/2019              $381.24
              8434        05/13/2019               $6,423.70                    8451             05/29/2019             $4,580.00
              8435        05/15/2019               $1,146.15                    8453*            05/31/2019              $396.00
* Indicates skipped check number

Daily Balances
Date                             Amount    Date                              Amount       Date                            Amount
05/01/2019                    $10,488.73   05/08/2019                     $146,564.78     05/14/2019                   $50,381.81
05/03/2019                     $9,975.73   05/09/2019                     $145,464.78     05/15/2019                   $30,232.89
05/06/2019                    $12,259.00   05/10/2019                      $65,918.35     05/17/2019                   $15,765.49
05/07/2019                   $262,237.60   05/13/2019                      $53,013.53     05/20/2019                  $165,734.09



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Daily Balances (continued)
Date                             Amount     Date                        Amount       Date                            Amount
05/21/2019                    $165,614.12   05/24/2019                $83,313.98     05/30/2019                   $30,129.34
05/22/2019                    $165,514.12   05/28/2019                $80,928.01     05/31/2019                   $29,525.92
05/23/2019                    $165,449.92   05/29/2019                $30,289.16


Overdraft and Returned Item Fees
                                                           Total for this period                      Total year-to-date
   Total Overdraft Fees                                                     $0.00                                   $0.00
   Total Returned Item Fees                                                 $0.00                                   $0.00


Service Charge Summary
   Description                                                                                                   Amount
   TOTAL CHARGE FOR D-I-P MAINT FEE:                                                                               $80.00
   Total Service Charge                                                                                            $80.00




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#0           05/01/19              $1.40           #0                 05/01/19                $1.40




#0           05/01/19              $20.00          #0                 05/01/19                $20.00




#0         05/01/19          $23,097.07            #0               05/01/19             $23,097.07




#0           05/06/19              $1.40           #0                 05/06/19                $1.40




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#0           05/06/19              $20.00          #0                 05/06/19                $20.00




#0           05/07/19              $1.40           #0                 05/07/19                $1.40




#0           05/07/19              $20.00          #0                 05/07/19                $20.00




#0           05/08/19              $1.40           #0                 05/08/19                $1.40




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#0           05/08/19              $1.40           #0                 05/08/19                $1.40




#0           05/08/19              $1.40           #0                 05/08/19                $1.40




#0           05/08/19              $1.40           #0                 05/08/19                $1.40




#0           05/08/19              $1.40           #0                 05/08/19                $1.40




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#0           05/08/19              $20.00          #0                 05/08/19                $20.00




#0           05/08/19              $20.00          #0                 05/08/19                $20.00




#0           05/08/19              $20.00          #0                 05/08/19                $20.00




#0           05/08/19              $20.00          #0                 05/08/19                $20.00




     4322BB5A3828574D93D3B65AC9792CCE            20190531             Checking Account Statements
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#0           05/08/19              $20.00          #0                 05/08/19                $20.00




#0         05/08/19          $13,888.14            #0               05/08/19             $13,888.14




#0         05/08/19          $15,942.69            #0               05/08/19             $15,942.69




#0         05/08/19          $17,862.20            #0               05/08/19             $17,862.20




     4322BB5A3828574D93D3B65AC9792CCE            20190531             Checking Account Statements
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#0         05/08/19          $25,588.21            #0               05/08/19             $25,588.21




#0         05/08/19          $42,118.84            #0               05/08/19             $42,118.84




#0           05/10/19              $1.40           #0                 05/10/19                $1.40




#0           05/10/19              $1.40           #0                 05/10/19                $1.40




     4322BB5A3828574D93D3B65AC9792CCE            20190531             Checking Account Statements
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#0           05/10/19              $1.40           #0                 05/10/19                $1.40




#0           05/10/19              $1.40           #0                 05/10/19                $1.40




#0           05/10/19              $1.40           #0                 05/10/19                $1.40




#0           05/10/19              $20.00          #0                 05/10/19                $20.00




     4322BB5A3828574D93D3B65AC9792CCE            20190531             Checking Account Statements
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#0           05/10/19              $20.00          #0                 05/10/19                $20.00




#0           05/10/19              $20.00          #0                 05/10/19                $20.00




#0           05/10/19              $20.00          #0                 05/10/19                $20.00




#0           05/10/19              $20.00          #0                 05/10/19                $20.00




     4322BB5A3828574D93D3B65AC9792CCE            20190531             Checking Account Statements
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#0          05/10/19           $1,772.90           #0                05/10/19               $1,772.90




#0          05/10/19           $2,445.73           #0                05/10/19               $2,445.73




#0          05/10/19           $2,940.00           #0                05/10/19               $2,940.00




#0          05/10/19           $7,017.50           #0                05/10/19               $7,017.50




     4322BB5A3828574D93D3B65AC9792CCE            20190531             Checking Account Statements
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#0         05/10/19          $65,263.30            #0               05/10/19             $65,263.30




#0           05/15/19              $1.40           #0                 05/15/19                $1.40




#0           05/15/19              $20.00          #0                 05/15/19                $20.00




#0         05/15/19          $18,584.56            #0               05/15/19             $18,584.56




     4322BB5A3828574D93D3B65AC9792CCE            20190531             Checking Account Statements
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#0           05/17/19              $1.40           #0                 05/17/19                $1.40




#0           05/17/19              $20.00          #0                 05/17/19                $20.00




#0         05/17/19          $12,500.00            #0               05/17/19             $12,500.00




#0           05/20/19              $1.40           #0                 05/20/19                $1.40




     4322BB5A3828574D93D3B65AC9792CCE            20190531             Checking Account Statements
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#0           05/20/19              $20.00          #0                 05/20/19                $20.00




#0           05/24/19              $1.40           #0                 05/24/19                $1.40




#0           05/24/19              $1.40           #0                 05/24/19                $1.40




#0           05/24/19              $1.40           #0                 05/24/19                $1.40




     4322BB5A3828574D93D3B65AC9792CCE            20190531             Checking Account Statements
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#0           05/24/19              $1.40           #0                 05/24/19                $1.40




#0           05/24/19              $1.40           #0                 05/24/19                $1.40




#0           05/24/19              $20.00          #0                 05/24/19                $20.00




#0           05/24/19              $20.00          #0                 05/24/19                $20.00




     4322BB5A3828574D93D3B65AC9792CCE            20190531             Checking Account Statements
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#0           05/24/19              $20.00          #0                 05/24/19                $20.00




#0           05/24/19              $20.00          #0                 05/24/19                $20.00




#0           05/24/19              $20.00          #0                 05/24/19                $20.00




#0          05/24/19           $1,384.13           #0                05/24/19               $1,384.13




     4322BB5A3828574D93D3B65AC9792CCE            20190531             Checking Account Statements
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#0          05/24/19           $1,917.50           #0                05/24/19               $1,917.50




#0          05/24/19           $6,860.08           #0                05/24/19               $6,860.08




#0         05/24/19          $11,332.00            #0               05/24/19             $11,332.00




#0         05/24/19          $56,329.44            #0               05/24/19             $56,329.44




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Chapter 11 Monthly Operating Report (Schedule Receipts and Disbursements)

Case No.           18-01297                                        Report Month/Year    May 2019
Debtor             VeroBlue Farms USA, Inc.

                                                                         Current          Cumulative
Depoisitory (bank) Name:                       VeroBlue Farms             Month          Petition to Date
Account Number:                                   1105612


Beginning Cash Balance, per Debtor's Books                         $       204,088.71   $             -

Add:               Transfers in from other estate bank accounts    $               -    $            -
                   Cash Receipts deposited to this account         $               -    $     204,499.01

Subtract:          Transfers out from other estate bank accounts   $               -    $             -
                   Cash Disbursements from this account            $               -    $          410.30

Net Cash Flow                                                      $               -    $     204,088.71
(receipts and transfers in less disbursements and tranfers out




Ending Cash Balance, per Debtor's Books                            $       204,088.71   $     204,088.71




Does this CONTINUATION SHEET include the following supporting documents?

                                                                   Yes                  No

Detailed list of receipts and disbursements                        X
Bank Statement                                                     X
Bank Reconcillation                                                X
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Chapter 11 Monthly Operating Report -
Cash Receipts and Disbursements Statement

Case No.               18-01297                                 Report Month/Year        May 2019
Debtor                 VeroBlue Farms USA, Inc.

                                                  For Period:   5/1/2019 to 5/21/2019


                                                                Account Number                      1105612

Cash Receipts Detail

           Date                       Payer                                Description         Amount




Total Cash Receipts                                                                                      -




Cash Disbursements Detail

           Date                       Payer                                Description         Amount




Total Cash Disbursements                                                                                 -




                                                                                                         1 of 1
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VeroBlue Farms USA, Inc.
Bank Reconciliation
First State Bank
Account Number XXX5612
May 31, 2019


Balance per bank                                                    204,003.11

Plus: Deposits in transit                __________




Total Deposits in transit                              __________

Sub-total                                              204,003.11

Less: Checks outstanding




Total checks outstanding                 __________

Adjusted bank balance                     204,003.11

Balance per general ledger                204,003.11

Unreconciled difference
        Case 18-01297     Doc 590   Filed 06/26/19 Entered 06/26/19 14:49:18 Desc Main
                                    Document      Page 50Statement
                                                          of 57       Ending 05/31/2019
                                                      VEROBLUE FARMS USA INC                    Page 1 of 4
                                                      Account Number:1105612


   RETURN SERVICE REQUESTED                               Managing Your Accounts
                                                                               505 Second St
                                                             Mailing Address
                                                                               Webster City IA 50595
   VEROBLUE FARMS USA INC                                    Phone Number      (515) 832-2520
   DEBTOR IN POSSESSION
   ASSET SALES PROCEEDS                                      Online Banking    www.fsbwc.com
   401 DES MOINES ST
   WEBSTER CITY IA 50595-1406                                Telephone         (515) 832-4860
                                                             Banking           (888) 372-4880




Summary of Accounts
Account Type                                         Account Number                       Ending Balance
Business Basic                                               1105612                         $204,003.11




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VEROBLUE FARMS USA INC                          1105612                        Statement Ending 05/31/2019                        Page 2 of 4
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               IN CASE OF ERRORS         06/26/19
                                   QUESTIONS       Entered
                                               ABOUT YOUR 06/26/19 14:49:18
                                                            ELECTRONIC      Desc Main
                                                                       TRANSFERS
                                   Document      Page 51 of 57
 Telephone us at (515) 832-2520 or write us at FIRST STATE BANK, 505 SECOND STREET / PO BOX 70, WEBSTER CITY,
 IOWA 50595 as soon as you can, if you think your statement or receipt is wrong or you need more information about a transfer on the
 statement or receipt. We must hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem
 appeared.
 (1) Tell us your name and account number (if any).
 (2) Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why you
     need more information.
 (3) Tell us the dollar amount of the suspected error.
 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will re-credit
 your account for the amount you think is in error so that you will have use of the money during the time it takes us to complete the
 investigation.

             BILLING RIGHTS SUMMARY - IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR BILL
 If you think there is an error on your statement, or if you need more information about a transaction on your statement, write us (on a
 separate sheet) at FIRST STATE BANK, 505 SECOND STREET / PO BOX 70, WEBSTER CITY, IOWA 50595 as soon as possible.
 We must hear from you no later than 60 days after we send you the first statement on which the error or problem appeared. You can
 telephone us, but doing so will not preserve your rights.
 In your letter, give us the following information:
     - Your name and account number
     - The dollar amount of the suspected error
     - Describe the error and explain, if you can, why you believe there is an error. If you need more information, describe the item you are
       unsure about.
 You do not have to pay any amount in question while we are investigating, but you are still obligated to pay the parts of your bill that are
 not in question. While we investigate your question, we cannot report you as delinquent or take any action to collect the amount you
 question.

                                       THIS FORM IS PROVIDED TO HELP YOU
                                 BALANCE YOUR CHECKBOOK WITH YOUR STATEMENT
     CHECKS OUTSTANDING                           1. In your checkbook, enter the interest earned on your account as it appears on the
    NUMBER               AMOUNT                      front of the statement.
                                                  2. Verify that checks are charged on statement for amount drawn.
                                                  3. Be sure that the Service Charge (if any) or other authorized deductions shown on
                                                     this statement have been deducted from your checkbook balance.
                                                  4. Verify that all deposits have been credited for the same amount as on your records.
                                                  5. Be sure that all checks outstanding on previous statement have been included in
                                                     this statement (otherwise they are still outstanding.)
                                                  6. Check off in your checkbook each of the checks paid by us.
                                                  7. Make a list of the numbers and amounts of those checks still outstanding in the
                                                     space provided at the left.


                                                                 8.        ENTER FINAL
                                                                            BALANCE AS
                                                                          PER STATEMENT

                                                                 9.    ADD
                                                                           ANY DEPOSITS
                                                                           NOT CREDITED



                                                                 10.           TOTAL
                                                                 11. SUBTRACT
      TOTAL                                         CARRY                    CHECKS
   OUTSTANDING                                       OVER                  OUTSTANDING

                                                                 12. BALANCE
                                                                       SHOULD AGREE WITH
                                                                       YOUR CHECKBOOK



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Business Basic-1105612
DEBTOR IN POSSESSION
Account Summary
Date            Description                               Amount      Description                                Amount
05/01/2019      Beginning Balance                      $204,088.71    Average Ledger Balance                  $204,088.71
                0 Credit(s) This Period                      $0.00
                2 Debit(s) This Period                      $85.60
05/31/2019      Ending Balance                         $204,003.11
                Service Charges                             $80.00

Account Activity
Post Date       Description                                                 Debits             Credits           Balance
05/01/2019      Beginning Balance                                                                             $204,088.71
05/31/2019      SERVICE CHARGE                                              $80.00                            $204,008.71
05/31/2019      SALES TAX                                                    $5.60                            $204,003.11
05/31/2019      Ending Balance                                                                                $204,003.11

Daily Balances
Date                               Amount
05/31/2019                     $204,003.11


Overdraft and Returned Item Fees
                                                            Total for this period                   Total year-to-date
   Total Overdraft Fees                                                     $0.00                                $0.00
   Total Returned Item Fees                                                 $0.00                                $0.00


Service Charge Summary
   Description                                                                                               Amount
   TOTAL CHARGE FOR D-I-P MAINT FEE:                                                                            $80.00
   Total Service Charge                                                                                         $80.00




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                   CHAPTER 11 MONTHLY OPERATING REPORT - SUPPLEMENTAL INFORMATION

Case No. 18-01297                                                                     Report Month/Year           5/19
Debtor VeroBlue Farms USA, Inc.



Reconciliation of Unpaid Post-Petition Taxes
                                             1                         2                         3                           4

                                    Unpaid post-petition      Post-petition taxes         Post-petition tax         Unpaid post-petition
                                     taxes from prior      accrued this month (new      payments made this        taxes at end of reporting
          Type of tax                reporting month             obligations)             reporting month            month (col. 1+2-3)
Federal
Employee income tax withheld                                                  8,718                     8,718
Employee FICA taxes withheld                                                  3,947                     3,947
Employer FICA taxes                                                           4,003                     4,003
Unemployment taxes                                                               47                        47
Other:____________________
State
Sales, use & excise taxes                                                                                         None
Unemployment taxes                                                                                                None
Other:____________________                                                                                        None
Local
Personal property taxes                                                                                      None
Real property taxes                                                                                          None
Other:____________________                                                                                   None
                                                                            Total unpaid post-petition taxes None


Payments to Attorneys and Other Professionals (requires court approval)

                                                                                                                   Balance unpaid at end
      Professional's name           Type of services        Amount paid this month     Date of court approval     of month, net of retainer
Ag & Business Legal              Legal                                      19,635
Davis Brown Law                  Legal                                      18,883
Elderkin & Pirnie                Legal                                      32,606
Thompson Knight                  Legal
Thompson Coburn                  Legal                                      16,334
Moglia                           Consulting                                107,382

Payments to Principals of Debtor and Other Insiders (includes officers, directors, shareholders, partners, members,
relatives, etc.)
                                      Position with or                                Purpose of payment (e.g., wages or salary,
       Payee's name               relationship to Debtor    Amount paid this month    expense reimbursement, loan repayment,
Norman McCowan                   President                                  28,846 wages
Norman McCowan                   President                                         Expense Reimbursment




Insurance Coverage Summary
                                                                                                                   Premium paid through
        Type of insurance              Insurance carrier        Amount of coverage      Policy expiration date            date
Workers' compensation             Midwest Insurance Company                1,000,000                     1/9/19                    1/9/19
General liability                 Evanston Insurance Company               2,000,000                     1/9/19                    1/9/19
Property (fire, theft, etc.)      Owners Insurance Company               66,729,209                      1/9/19                    1/9/19
Vehicle                           Auto Owners Insurance Co.                1,000,000                     1/9/19                    1/9/19
Other: Exc. Liab/Umbrella         Acceptance Indemnity Ins. Co.            5,000,000                     1/9/19                    1/9/19
Other:
If any policies were renewed or replaced during reporting period, attach new certificate of insurance.

                                                                                                                                      UST-2D
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United States Trustee-Northern District of Iowa                                                                                  February 2015
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                 CHAPTER 11 MONTHLY OPERATING REPORT - SUPPLEMENTAL INFORMATION

Case No. 18-01297                                                                             Report Month/Year 5/19
Debtor VeroBlue Farms USA, Inc.



Accounts Receivable Aging Summary (attach detailed aging report)
                               30 days or less         31 to 60 days          61 to 90 days         Over 90 days         Total at month end
Pre-petition receivables                                                                                       53,874                   53,874
Post-petition receivables                                                                                       7,565                    7,565
Total                                                                                                          61,440                   61,440



Post-Petition Accounts Payable Aging Summary (attach detailed aging report)
                               30 days or less         31 to 60 days          61 to 90 days         Over 90 days         Total at month end
Trade Payables                           226,356                                                                4,716                191,687
Other Payables
Total                                    226,356                                                                4,716                231,072



Personnel Changes                                                                                      Full-time             Part-time
Number of employees at beginning of month                                                                           3                       2
Number of employees at end of month                                                                                 3                       2



Other Information
                                                                                                         Yes                    No
Payment of Pre-Petition Debts
Did Debtor pay any unsecured pre-petition debts during the reporting month? If yes, attach a
detailed explanation including the payee, amount paid, and date of court approval.
                                                                                                          ❏                      X
Sale of Assets
Did Debtor, or another party on behalf of Debtor, sell, transfer, or otherwise dispose of any
assets outside of the ordinary course of Debtor's business during the reporting month? If
yes, attach a report of sale or settlement statement, or detailed explanation including                   ❏                      X
description of asset sold, purchaser, sale price, net proceeds received, and date of court
approval .
Post-Petition Financing
Did Debtor borrow any money outside of the ordinary course of business during the reporting
month? If yes, attach a detailed explanation including the name of the lender, the amount                 ❏                      X
borrowed, and the date of court approval.



Narrative
Provide a brief description of any significant business and legal actions taken by the debtor, its creditors, or the court during the
reporting period; any unusual or non-recurring accounting transactions that are reported in the financial statements; any
significant changes in the financial condition of the debtor; and any progress made toward confirmation of a plan during the month.
None




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United States Trustee-Northern District of Iowa
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                       VeroBlue Farms USA Inc.
                VeroBlue Farms USA, Inc (Consolidated)
                               A/R Aging Detail
                              As of May 21, 2019


Customer   Transaction Type
                       Date         Document Number
                                              P.O. No.   Due Date          Age    Open Balance
Airedale Aquatics LLC
            Invoice    7/24/2018    1871                 8/8/2018          315     $9,264.58
            Invoice    7/31/2018    1900                 8/15/2018         308    $18,697.50
Total - Airedale Aquatics LLC                                                     $27,962.08
Taylor Fish Farm
            Invoice    9/8/2018     1969                 9/23/2018         269    $25,912.25
Total - Taylor Fish Farm                                                          $25,912.25

Falling Waters
             Invoice   12/21/2018   2070      Shipped 6,139
                                                         12/21/2018
                                                             Barramundi     180    $1,227.80
             Invoice   12/26/2018   2072                 12/26/2018         175    $1,215.00
             Invoice   1/4/2019     2073      Shipped 2,600
                                                         1/4/2019
                                                             Lbs Barramundi 166      $520.00
             Invoice   1/7/2019     2079      Shipped 5753
                                                         1/7/2019
                                                            Lbs Barramundi 163     $4,602.40
Total - Falling Waters                                                             $7,565.20
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                    VeroBlue Farms USA Inc.
             VeroBlue Farms USA, Inc (Consolidated)
             Post BK Filing A/P Aging Summary
                    As of May 21, 2019


Vendor          4/21/2019
                   Current- 5/20/2019
                              3/22/2019(30)
                                         - 4/20/2019
                                             2/20/2019(60)
                                                        - 3/21/2019
                                                               Before
                                                                    (90)
                                                                      2/20/2019 (>90)     Total
             Open Balance Open Balance    Open Balance   Open BalanceOpen Balance Open Balance
Vendor
 AFCO               $0.00 $23,564.23          $0.00        $0.00     $0.00       $23,564.23
 Ag & Business    Legal Strategies$0.00
               $1,384.13                      $0.00        $0.00     $0.00        $1,384.13
 Airgas USA LLC $0.00               $0.00     $0.00        $0.00 $4,716.01        $4,716.01
 Centre Technologies
               $2,721.12 Inc        $0.00     $0.00        $0.00     $0.00        $2,721.12
 City of Webster   City - Utility Office
               $9,683.97            $0.00     $0.00        $0.00     $0.00        $9,683.97
 CliftonLarsonAllen   LLP $5,000.00
                    $0.00                     $0.00        $0.00     $0.00        $5,000.00
 Davis Brown $6,860.08
               Law Firm             $0.00     $0.00        $0.00     $0.00        $6,860.08
 Elderkin & Pirnie
             $15,252.00             $0.00     $0.00        $0.00     $0.00       $15,252.00
 Ellsworth Professional
                  $25.15Truck Wash  $0.00     $0.00        $0.00     $0.00           $25.15
 Ford Credit (post $0.00
                    BK)         $1,822.41     $0.00        $0.00     $0.00        $1,822.41
 Midland Power$926.26
                  Cooperative $0.00           $0.00        $0.00     $0.00          $926.26
 Moglia        $1,917.50            $0.00     $0.00        $0.00     $0.00        $1,917.50
 Office of the U.S.  Trustee
                 $503.14            $0.00     $0.00        $0.00     $0.00          $503.14
 Randy Chalfant$289.91              $0.00     $0.00        $0.00     $0.00          $289.91
 Ted's Car Wash$64.00               $0.00     $0.00        $0.00     $0.00           $64.00
 Thompson &     Knight LLP
             $68,098.50             $0.00     $0.00        $0.00     $0.00       $68,098.50
 Thompson Coburn      LLP
             $83,090.78             $0.00     $0.00        $0.00     $0.00       $83,090.78
 Verizon         $381.24            $0.00     $0.00        $0.00     $0.00          $381.24
 Whitehair Consulting
               $4,580.00 LLC        $0.00     $0.00        $0.00     $0.00        $4,580.00
 Zehner Safety $191.25              $0.00     $0.00        $0.00     $0.00          $191.25
Total - Vendor
            $195,969.03 $30,386.64            $0.00        $0.00 $4,716.01      $231,071.68
Total       $195,969.03 $30,386.64            $0.00        $0.00 $4,716.01      $231,071.68
